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                   EXHIBIT 17
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Dr. Patrick Lappert                                                                         4/3/2024
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             UNITED STATES DISTRICT COURT              1       APPEARANCES
             MIDDLE DISTRICT OF ALABAMA                2
              NORTHERN DIVISION
                                                       3   FOR THE PLAINTIFF VIA ZOOM:
                                                       4   LIGHTFOOT, FRANKLIN, ROSE & WHITE, LLC
       NO. 2:22-CV-00184-LCB-CWB                       5   BY: AMIE VAGUE
                                                       6   THE CLARK BUILDING
       BRIANNA BOE, et al.,
            Plaintiffs,                                7   400 20TH STREET NORTH
       vs.                                             8   BIRMINGHAM, ALABAMA 35203
                                                       9
       UNITED STATES OF AMERICA,
                                                      10   FOR THE DEFENDANT VIA ZOOM:
              Plaintiff-Intervenor                    11   OFFICE OF ALABAMA ATTORNEY GENERAL STEVE
                                                      12   MARSHALL
       vs.
                                                      13   BY: CHARLES MCKAY
       STEVE MARSHALL, IN HIS OFFICIAL CAPACITY       14   501 WASHINGTON AVENUE
       AS ATTORNEY GENERAL OF THE STATE OF            15   MONTGOMERY, ALABAMA 36104
       ALABAMA, et al.,
                                                      16
              Defendants                              17   PRESENT VIA ZOOM:
                                                      18   BARRETT BOWDRE, DEPUTY SOLICTOR GENERAL
                ZOOM                                  19
              DEPOSITION
                 OF                                   20   JASON CHEEK, ASSISTANT U.S. ATTORNEY,
             DR. PATRICK LAPPERT                      21
              APRIL 3, 2024                           22   RENEE WILLIAMS, CIVIL RIGHT'S DIVISION
       Taken Before: Krista L. Price, CCR,            23   FEDERAL COORDINATION


                                             Page 2                                            Page 4
   1          STIPULATION                              1                INDEX
   2       IT IS STIPULATED AND AGREED by and          2
   3    between the parties through their              3            EXAMINATION BY: PAGE:
   4    respective counsel that said deposition        4            MRS. VAGUE.............5
   5    may be taken before Krista L. Price,           5
   6    Certified Court Reporter, and Notary           6            PLAINTIFF'S EXHIBIT
   7    Public;                                        7            NO. 1 (Dr. Lappert's
   8       That the signature to and the               8            Report)....    120
   9    reading of the deposition by the witness       9
  10    is NOT waived, the deposition to have         10
  11    the same force and effect as if full          11
  12    compliance had been had with all laws         12
  13    and rules of Court relating to the            13
  14    taking of depositions;                        14
  15       That it shall not be necessary for         15
  16    any objections to be made by counsel to       16
  17    any questions, except as to form or           17
  18    leading questions, and that counsel for       18
  19    the parties may make objections and           19
  20    assign grounds at the time of trial, or       20
  21    at the time said deposition is offered        21
  22    in evidence, or prior thereto.                22
  23                                                  23


                                                                            1 (Pages 1 to 4)
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Dr. Patrick Lappert                                                                     4/3/2024
                                             Page 5                                       Page 7
   1         I, Krista L. Price, a Certified           1      Q. All right. With that then, I'm
   2   Reporter of Birmingham, Alabama, and a          2   just going to go ahead and jump in if
   3   Notary Public for the State of Alabama,         3   you're ready.
   4   acting as Commissioner, certify that on         4      A. I am.
   5   this date, pursuant to Rule 30 of the           5      Q. All right. Doctor, how many
   6   Alabama Rules of Civil Procedure and the        6   minors in Alabama have undergone
   7   foregoing stipulation of counsel, there         7   gender-affirming surgeries?
   8   came before me via ZOOM at BIRMINGHAM           8      A. I don't know that number.
   9   REPORTING, BIRMINGHAM, ALABAMA on               9      Q. Do you know how many adults in
  10   WEDNESDAY, APRIL 3, 2024, commencing at        10   Alabama have undergone gender-affirming
  11   9:00 A.M., DR. PATRICK LAPPERT, witness        11   surgeries?
  12   in the above cause, for oral                   12      A. I don't.
  13   examination, whereupon the following           13      Q. Have you done any work to try
  14   proceedings were had:                          14   and figure out what those numbers are?
  15                                                  15      A. I have not.
  16        DR. PATRICK LAPPERT,                      16      Q. What about nationwide? Do you
  17      being first duly sworn, was                 17   know how many minors nationwide have
  18    examined and testified as follows:            18   undergone gender-affirming surgeries?
  19                                                  19      A. I do not.
  20         COURT REPORTER: Usual                    20      Q. Do you know how many adults
  21   stipulations?                                  21   nationwide have undergone
  22         MRS. VAGUE: Yes.                         22   gender-affirming surgeries?
  23         MR. MCKAY: Yes.                          23      A. I do not.

                                             Page 6                                       Page 8
   1         EXAMINATION BY MRS. VAGUE:                1       Q. Do you know what percentage of
   2       Q. Good morning, Doctor.                    2   transgender individuals have undergone
   3       A. Good morning.                            3   gender-affirming surgeries in the United
   4       Q. We met just a few minutes ago.           4   States?
   5   As I said, I'm Amie Vague. I'm here on          5       A. Could you reask that question?
   6   behalf of the private plaintiffs, and           6       Q. Sure. Do you know -- out of
   7   I'm here to ask you some questions today        7   all the individuals in the United States
   8   about your expert opinions that I               8   who identify as transgender, do you know
   9   understand you're going to be giving in         9   what percentage of those people have
  10   this case. Do you understand that?             10   undergone gender-affirming surgeries?
  11       A. Yes.                                    11       A. To the best of my knowledge,
  12       Q. And I know you've given a               12   that number is not known.
  13   deposition before. Have you ever given         13       Q. Okay. Let's talk a little bit
  14   a deposition via Zoom or remote means?         14   about your practice. I understand that,
  15       A. I have.                                 15   say, for the last few years of your
  16       Q. Okay. So you know how it                16   practice, you were board certified as a
  17   works. We've still got a court reporter        17   plastic surgeon; is that correct?
  18   here. She's taking down everything that        18       A. That's correct.
  19   we say. If you can't hear me or we lose        19       Q. And you hold yourself out as an
  20   connection or something, just let us           20   expert in the field of plastic and
  21   know, and we'll take a pause, and then         21   reconstructive surgery, right?
  22   we can restart. Okay?                          22       A. I do.
  23       A. Okay.                                   23       Q. Do you hold yourself out as an


                                                                        2 (Pages 5 to 8)
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   1    expert in any other areas?                   1   pediatrics.
   2          MR. MCKAY: Object to the form.         2       Q. Okay. And when you're talking
   3        A. What other areas?                     3   about developmental pediatrics, it sounds
   4        Q. That's for you to tell me. Do         4   to me like you're talking about the
   5    you consider yourself an expert in any       5   physical development of the child; is
   6    other areas outside of plastic and           6   that correct?
   7    reconstructive surgery?                      7       A. It's more than that.
   8        A. Yes.                                  8       Q. Explain that to me.
   9        Q. What other areas?                     9       A. Well, for example, in the care
  10        A. General surgery, trauma              10   of children with congenital deformities
  11    surgery, the care of chronic wounds.        11   of the mouth, a cleft palate, it includes
  12        Q. Okay. Anything else?                 12   a lot of the study of the developmental
  13        A. No.                                  13   processes involved in the development of
  14        Q. Okay. And I think I know the         14   speech, motor processes, everything;
  15    answers to these next couple of             15   including, you know, dentition. But
  16    questions, but I just want to go through    16   there's a lot of developmental things
  17    them.                                       17   related to their psychological and
  18          You're not a pediatrician,            18   emotional processes that enter into the
  19    correct?                                    19   timing of surgery and things like that.
  20        A. Correct.                             20       Q. Okay. So just if I could sum it
  21        Q. You don't have any specialized       21   up -- and correct me if I misstate this.
  22    training or expertise in pediatrics,        22   But you do have some specialized training
  23    correct?                                    23   in the care of children in pediatrics

                                       Page 10                                          Page 12
   1        A. I do have advanced training in        1   specific to your work as a plastic
   2    pediatric surgery -- pediatric               2   surgeon involving the development in some
   3    craniofacial surgery.                        3   instances of the children specific to
   4        Q. Okay. Specific to that. Other         4   your work as a plastic surgeon. Is that
   5    than that one area, you don't have any       5   fair?
   6    other training or specialized expertise      6         MR. MCKAY: Object to the form.
   7    in the field of pediatrics?                  7       A. I guess that's fair. Yes.
   8        A. Only what I gained in my              8       Q. Okay. You're not an
   9    training as a general surgeon and a          9   endocrinologist, correct?
  10    reconstructive surgeon, which involved a    10       A. I am not.
  11    lot of care of children, yes.               11       Q. You don't have any specialized
  12        Q. Specific to plastic and              12   training or expertise in endocrinology,
  13    reconstructive surgery that you were        13   right?
  14    performing?                                 14       A. I have expertise in
  15           MR. MCKAY: Object to the form.       15   endocrinology as it relates to the
  16        A. Well, in those areas, there's a      16   practice of general surgery and plastic
  17    lot of training relating to                 17   and reconstructive surgery.
  18    development -- pediatric developmental      18       Q. Okay. What kind of expertise
  19    processes that are germane to congenital    19   would you have with that specificity?
  20    deformities, including deformities of the   20       A. Well, in endocrinology -- as it
  21    hand, deformities of the cranium, and       21   relates to endocrinology, for example, in
  22    deformities of the mouth. So there's a      22   my training as a general surgeon, I had
  23    lot of training in developmental            23   to have a fairly comprehensive


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   1   understanding, for example, of thyroid       1   health issues is very important to
   2   disease, parathyroid disease, adrenal        2   persons -- physicians who practice
   3   disease, all of its manifestations in        3   particularly in cosmetic surgery,
   4   order to diagnose those conditions or to     4   aesthetic surgery because we have to have
   5   confirm the diagnosis of those conditions    5   a clear understanding of patients'
   6   that might lead to surgical intervention,    6   motivation for surgery, which can
   7   such as a thyroidectomy or                   7   sometimes be pathological and require a
   8   parathyroidectomy or things like that.       8   correct diagnosis.
   9   So there's a lot of endocrinology            9      Q. What kind of training have you
  10   involved in that, as is the case in         10   undergone in the field of mental health?
  11   pediatric plastic surgery related to        11      A. Well, in addition to my training
  12   congenital deformities and things like      12   and my rotations in the psychiatric
  13   that.                                       13   services when I was training as a
  14       Q. Okay. I think I'm                    14   physician, we also received extensive
  15   understanding. You have some training in    15   exposure to psychiatry during my plastic
  16   endocrinology much like in the pediatric    16   surgery residency as it relates to
  17   world that's specific to your care as a     17   aesthetic surgery.
  18   plastic surgeon; is that right?             18      Q. And outside of your -- the
  19       A. Well, it isn't just specific to      19   education and training that you received
  20   plastic surgery. So, for example, my        20   in your residency, have you done any
  21   training in thyroid disease is the same     21   additional training in the field of
  22   body of information that an                 22   mental health?
  23   endocrinologist would use in the            23      A. No.

                                      Page 14                                          Page 16
   1   diagnosing and the recommended treatment     1       Q. And do you treat patients for
   2   of particular thyroid diseases.              2   mental health conditions? I understand
   3       Q. And outside of that training          3   you might see patients who have mental
   4   that you received in your education for      4   health conditions, but do you treat those
   5   general surgery and plastic surgery, you     5   patients, or do you refer them to another
   6   haven't received any additional training     6   provider?
   7   in the field of endocrinology; is that       7       A. I refer patients to psychiatry.
   8   right?                                       8       Q. Those specialties that we just
   9       A. That's right.                         9   talked through -- endocrinology,
  10       Q. Am I correct that you're not a       10   pediatrics, and mental health -- you're
  11   psychologist?                               11   not an expert in the treatment guidelines
  12       A. I'm not.                             12   that are issued within those specialties,
  13       Q. You're not a psychiatrist; is        13   are you?
  14   that right?                                 14         MR. MCKAY: Object to the form.
  15       A. I am not.                            15       A. Could you ask the question
  16       Q. You don't hold yourself out as       16   again?
  17   an expert in the field of mental health;    17       Q. Sure. I understand that in
  18   is that correct?                            18   different fields of medicine, those
  19       A. I have expertise in areas of         19   particular fields publish guidelines
  20   mental health.                              20   specific to those fields, correct?
  21       Q. Okay. What's your expertise in       21       A. Yes. The different medical
  22   the field of mental health?                 22   specialties at times publish treatment
  23       A. Well, an understanding of mental     23   guidelines, that's correct.


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   1        Q. And my question is: We talked         1   associated with gender dysphoria and the
   2    through a number of those fields:            2   prior diagnosis of gender identity
   3    Pediatrics, endocrinology, mental health.    3   disorder.
   4    Are you an expert in the treatment           4       Q. Let me back up. And my question
   5    guidelines for those specialties that we     5   is pretty specific. Are you an expert in
   6    just went through?                           6   diagnosing gender dysphoria?
   7        A. I have expertise in those areas       7       A. I have expertise.
   8    as I have reviewed the treatment             8       Q. That sounds like a distinction
   9    guidelines germane to the question at        9   to me. What distinction are you making
  10    hand as it relates to my practice of        10   there?
  11    plastic and reconstructive surgery.         11       A. That I have sufficient expertise
  12        Q. But beyond reviewing those           12   to make a diagnosis of gender identity
  13    guidelines, you didn't participate and      13   disorders.
  14    prepare any of those guidelines, did you?   14       Q. Okay. Let's break that down a
  15        A. I did not.                           15   little bit.
  16        Q. You're not familiar with what        16          How many patients have you
  17    those guidelines -- the publishers of       17   diagnosed for gender dysphoria?
  18    those guidelines may have reviewed or       18       A. None.
  19    relied upon in preparing those              19       Q. Okay. And a minute ago, you
  20    guidelines, are you?                        20   were making a distinction between the
  21          MR. MCKAY: Object to the form.        21   term "gender dysphoria" and "gender
  22        A. I am familiar. As I review the       22   identity disorder." What is that
  23    treatment guidelines, I make a habit of     23   distinction?

                                       Page 18                                          Page 20
   1   reviewing the literature that's offered       1      A. It's a distinction that was made
   2   in support of the treatment guidelines.       2   by the authors of the Diagnostic and
   3       Q. I understand. I guess my               3   Statistical Manual.
   4   question is slightly different. You           4      Q. And what do you understand that
   5   don't know what articles or peer-reviewed     5   distinction to be?
   6   studies beyond what's cited in those          6      A. Gender identity disorder is the
   7   articles may have been considered by          7   more historic diagnostic term that
   8   those guidelines?                             8   subsumes gender identity disorder as a
   9          MR. MCKAY: Object to the form.         9   subcategory of obsessive compulsive
  10       A. It is in the nature of treatment      10   processes. That diagnostic category was
  11   guidelines to include the references and     11   renamed. In the latest iteration of the
  12   citations in a comprehensive way since       12   Diagnostic and Statistical Manual, it was
  13   patient care relies on the quality of        13   renamed gender dysphoria.
  14   that evidence. So I have reviewed the        14      Q. And other than renaming it, do
  15   literature.                                  15   you understand there to be any difference
  16       Q. Okay. You've reviewed the             16   between the two terms?
  17   literature. You've reviewed the              17      A. To my mind, there is no
  18   guidelines. Is that fair?                    18   difference. It's the same group of
  19       A. Yes.                                  19   patients.
  20       Q. Okay. You're not an expert in         20      Q. And is that based on your
  21   diagnosing gender dysphoria, correct?        21   reading of the DSM-5?
  22       A. I have expertise in the               22      A. It's based on my reading of the
  23   psychological processes that are             23   DSM manual since edition III up through


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   1   edition 5, including a review of the         1      Q. And did you perform that
   2   literature that was used in support of       2   rhinoplasty?
   3   the change in nomenclature.                  3      A. No.
   4       Q. Okay. And what I'm trying to          4      Q. Why not?
   5   understand is based on your reading of       5      A. Because his underlying condition
   6   the DSM-III up through the current           6   made it unethical for me to offer him
   7   version of the DSM-5, your understanding     7   that rhinoplasty.
   8   is that it's just a change in the name?      8      Q. His underlying condition being
   9          MR. MCKAY: Object to the form.        9   gender dysphoria?
  10       A. In substance, that's all that it     10      A. Yes. Gender identity disorder
  11   is.                                         11   or gender dysphoria.
  12       Q. Okay. You told me you've never       12      Q. And when you told that patient
  13   diagnosed an individual with gender         13   no, that you weren't going to perform
  14   dysphoria, correct?                         14   that surgery, what was his response?
  15       A. Correct.                             15      A. I don't remember his words. I
  16       Q. And just to cover our bases,         16   remember that we agreed that I wasn't the
  17   have you ever diagnosed an individual       17   person to offer him a surgical remedy for
  18   with gender identity disorder?              18   his problem.
  19       A. Only confirmed a diagnosis.          19      Q. Have you had any other patients
  20       Q. Tell me about that.                  20   in your practice that have approached you
  21       A. A patient who had -- was seeking     21   and requested that you perform
  22   a facial modification, facial               22   gender-affirming surgery?
  23   feminization who presented himself as       23      A. No.

                                      Page 22                                          Page 24
   1   gender dysphoric and who, on examination,    1       Q. All right. Doctor, you're not
   2   I found had the characteristics of gender    2   an expert in the treatment of gender
   3   identity disorder.                           3   dysphoria; is that correct?
   4       Q. So this patient presented to you      4         MR. MCKAY: Object to the form.
   5   and told you that he was gender              5       A. I suppose that I have to ask you
   6   dysphoric?                                   6   to clarify what you mean by "the
   7       A. Yes.                                  7   treatment of gender dysphoria."
   8       Q. Okay. When was this?                  8       Q. Have you ever treated a patient
   9       A. It was some years ago. Maybe          9   for gender dysphoria?
  10   five, six years ago.                        10       A. No.
  11       Q. And do you remember what it is       11       Q. And you don't hold yourself out
  12   he told you specifically?                   12   as an expert in treating transgender
  13       A. I don't.                             13   individuals, do you?
  14       Q. Do you remember if he told you       14       A. What treatments do you mean?
  15   who had diagnosed him with gender           15       Q. What treatments have you
  16   dysphoria?                                  16   provided for transgender individuals?
  17       A. I don't remember that, no.           17       A. Laser hair removal, skin care
  18       Q. And you indicated that you -- he     18   for the sequelae of high-dose sex steroid
  19   was seeking a surgery. Did you perform a    19   prescription.
  20   surgery on him?                             20       Q. Anything else?
  21          MR. MCKAY: Object to the form.       21       A. No.
  22       A. He presented to me seeking a         22       Q. And let me make sure I
  23   rhinoplasty.                                23   understand. When you say that you


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   1    performed those procedures, were those       1   you, if they told you, shared with you as
   2    performed for the purpose of providing       2   their physician that they were
   3    gender-affirming care?                       3   transgender?
   4           MR. MCKAY: Object to the form.        4      A. I don't remember their words,
   5        A. I have a couple patients who          5   but it's -- yeah, it's an evident thing.
   6    come to my office and receive laser hair     6      Q. How old are these patients?
   7    removal treatments for facial hair, and      7      A. Most all of them are late,
   8    you know, that's the limit of what I         8   middle-aged men.
   9    offer.                                       9      Q. Doctor, I understand you -- when
  10        Q. And those patients are seeking       10   did you retire?
  11    laser hair removal for the purpose of       11      A. I still have a medical practice.
  12    better aligning with their gender           12      Q. Uh-huh.
  13    identity?                                   13      A. I retired from surgery in 2020.
  14           MR. MCKAY: Object to the form.       14      Q. Okay. So you still see patients
  15        A. I wouldn't claim to know the         15   in your clinic?
  16    fullness of their motivation. It's          16      A. Yes.
  17    sufficient to me that they're seeking       17      Q. But you don't perform any
  18    happiness or comfort, and I can offer       18   surgeries?
  19    that to them without compromising my        19      A. Correct.
  20    medical ethics.                             20      Q. And in your private practice,
  21        Q. Okay. How do you -- about how        21   when you were performing surgeries, I
  22    many patients do you think that you treat   22   understand you performed both
  23    for this kind of care?                      23   reconstructive and cosmetic surgeries,

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   1       A. I didn't hear the last of your         1   right?
   2    question.                                    2       A. That's correct.
   3       Q. I'm trying to determine how many       3       Q. How much of your practice would
   4    patients you treat for this kind of care.    4   you say was reconstructive surgery versus
   5       A. Just a handful, perhaps.               5   cosmetic surgery?
   6       Q. Okay. Five?                            6       A. It would depend on at what point
   7       A. Probably less than five.               7   in my career you asked that question. So
   8       Q. Okay. Three, maybe?                    8   for many years, I was probably about
   9       A. Sure.                                  9   80 -- 90 percent reconstructive surgery,
  10       Q. Okay. And how many years have         10   particularly trauma reconstructive
  11    you been treating those patients?           11   surgery and congenital deformities when I
  12       A. Gosh. Maybe four or five years.       12   was on active duty in the Navy, and the
  13       Q. How did you know that those           13   percentage of cosmetic surgery was
  14    patients were transgender individuals?      14   probably somewhere about 10 percent.
  15       A. It's fairly obvious.                  15         Since I went into private
  16       Q. Is this something that they           16   practice, probably about half
  17    shared with you or just based on your       17   reconstructive and half cosmetic.
  18    observation, your view?                     18       Q. How many patients do you think
  19          MR. MCKAY: Object to the form.        19   you've treated in private practice in
  20       A. I'm not sure I understand the         20   Alabama over the years?
  21    distinction you're making.                  21       A. Gosh. Just treating or surgery
  22       Q. Well, I wonder if these               22   or --
  23    patients, when they came to treat with      23       Q. Let's specify it to surgery.


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   1   Thank you for that clarification.            1       Q. Okay. And I think you told me
   2       A. Surgery, probably somewhere near      2   earlier that that patient is middle-aged?
   3   10,000.                                      3       A. Yes.
   4       Q. I think that we've confirmed          4       Q. And what risks did you go
   5   this already, but just to clarify, you've    5   through with him?
   6   never performed any gender-affirming         6       A. We had a discussion about the
   7   surgeries; is that correct?                  7   possible effects of the high-dose
   8         MR. MCKAY: Object to the form.         8   estrogen as a possible cause of the skin
   9       A. That's correct.                       9   condition that he has developed. In that
  10       Q. And other than that one patient      10   conversation, we touched on other
  11   you told me about earlier who approached    11   possible consequences, such as
  12   you about the rhinoplasty, are you aware    12   hypertension, hypercholesterolemia,
  13   of any other of your patients that have     13   difficulties in managing blood sugar,
  14   been diagnosed with gender dysphoria?       14   heart disease, stroke, deep venous
  15       A. I'm not aware of any others that     15   thrombosis.
  16   I can recall.                               16       Q. Do you know where that patient
  17       Q. And in your years of practice,       17   is seeking treatment for gender
  18   Doctor, you've never prescribed puberty     18   dysphoria?
  19   blockers or cross-sex hormones for the      19       A. I do not.
  20   treatment of gender dysphoria; is that      20       Q. Other than that one patient, do
  21   correct?                                    21   you have experience advising any other
  22       A. That's correct.                      22   patients about the risks and benefits of
  23       Q. So you don't have any firsthand      23   puberty blockers or cross-sex hormones?

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   1   experience in advising your patients         1         MR. MCKAY: Object to the form.
   2   about the risks and benefits of such         2       A. Not among my patients.
   3   treatments, correct?                         3       Q. Outside of your patient base,
   4          MR. MCKAY: Object to the form.        4   are you making recommendations and
   5      A. I have advised one patient very        5   advisements on the use of these
   6   recently with the potential deleterious      6   medications?
   7   effects of their high-dose, cross-sex        7         MR. MCKAY: Object to the form.
   8   hormone treatment. One of my patients        8       A. I've had conversations with
   9   who I described earlier who was here for     9   teachers, parents, pastors, all of whom
  10   laser hair removal has developed some       10   have been in contact with persons who are
  11   cutaneous side effects from the high-dose   11   suffering with gender dysphoria who have
  12   estrogen that he's been prescribed now      12   asked me questions, but not in my
  13   for his gender dysphoria.                   13   capacity as their doctor in my office.
  14      Q. So that patient you have              14   Only in my capacity as a physician and a
  15   confirmed has been diagnosed with gender    15   friend.
  16   dysphoria?                                  16       Q. Understood. So more in your
  17      A. Well, what I know about that          17   personal capacity?
  18   patient is that that they are a male        18       A. As it touches upon my
  19   presenting as female on high-dose           19   professional life.
  20   estrogen who has skin problems now. And     20       Q. Understood. But you're not
  21   I have consulted with him about the risks   21   treating these patients. You're not
  22   of -- the effects of the high-dose          22   reviewing their medical records, correct?
  23   estrogen on his skin.                       23       A. Correct.


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   1       Q. In your practice, Doctor -- I'm        1          In the case of children,
   2    talking about your private practice in       2   generally, the default answer to requests
   3    Alabama -- how many of those patients        3   for cosmetic surgery is no. But there
   4    were minors at the time of treatment?        4   are a few examples of what you could call
   5       A. How many of my patients in my          5   cosmetic surgery that I would perform on
   6    practice in Alabama have been minors?        6   a child.
   7       Q. Yes.                                   7       Q. Okay. What are those?
   8       A. Oh.                                    8       A. For example, a child who had
   9       Q. And if you need to give me a           9   been born with a cleft lip. When that
  10    percentage -- however you need to break     10   cleft lip is repaired, there are
  11    that down, that's fine.                     11   virtually always deformities of the nose.
  12       A. Sure. I would say that perhaps        12   Those deformities are essentially
  13    somewhere between five and ten percent of   13   aesthetic because the nose is
  14    my patients.                                14   functionally normal, but it's the kind of
  15       Q. Have you ever performed surgery       15   surgery that I would offer to a child
  16    on a minor in private practice?             16   above a certain age to get a better
  17       A. Yes.                                  17   aesthetic result in anticipation of the
  18       Q. What were the procedures that         18   growth of their adult face. That would
  19    you performed on minors?                    19   be an example.
  20       A. Everything ranging from removal       20       Q. Okay. Any other examples you
  21    of skin lesions to pharyngeal               21   can think of?
  22    reconstruction in a seven-year-old child    22       A. Deformities of the ear in boys.
  23    with a history of cleft palate.             23       Q. Anything else?

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   1        Q. Have you ever performed cosmetic      1       A. There may be other things, but
   2    procedures on a minor? Let me clarify        2   the criteria there would be that the
   3    that question, actually. Have you ever       3   surgery doesn't put them at any risk;
   4    performed a cosmetic surgery on a minor?     4   that the likelihood of a visible
   5        A. Could you clarify for me what         5   improvement is significant, you know.
   6    you mean by "cosmetic"?                      6       Q. All surgery carries risks,
   7        Q. Well, why don't you define that       7   right?
   8    for me. You've talked about                  8       A. That's correct.
   9    reconstructive surgery and cosmetic          9       Q. Let me see if I can break this
  10    surgery in your report. So why don't you    10   down a step further. I don't remember
  11    define for me what you would say is a       11   seeing it in your expert report, but it
  12    cosmetic surgery.                           12   seems like you're drawing a distinction
  13           MR. MCKAY: Object to the form.       13   between some cosmetic surgeries versus
  14        A. Cosmetic surgery is surgery          14   surgeries that are performed for purely
  15    that's offered in response to a             15   aesthetic reasons.
  16    subjective issue with the patient,          16         MR. MCKAY: Object to the form.
  17    aesthetic. So reconstructive surgery        17       Q. Do you draw that -- I'm just
  18    begins with an objective defect or          18   trying to understand if you draw a
  19    deformity that has, perhaps, functional     19   distinction between cosmetic surgeries
  20    ramifications. Cosmetic surgery is aimed    20   that are performed perhaps to remedy some
  21    at improving the subjective life of the     21   sort of defect versus cosmetic surgeries
  22    patient and might not show an outward       22   that are performed for purely aesthetic
  23    objective finding.                          23   reasons.


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   1       A. I think I understand your              1   not only the change in form, but the
   2    question. The line of demarcation --         2   effect that it has on the subjective life
   3    well, cosmetic surgery -- one of the --      3   of the patient since that's what
   4    one of the processes involved in a           4   aesthetic means. Aesthetic is about the
   5    consultation for a cosmetic surgery is       5   subjective response of the patient to the
   6    can this -- can I as the surgeon see the     6   surgery. So --
   7    defect that the patient sees.                7       Q. So I know you indicated a couple
   8          So in the case of an ear               8   of limited scenarios where you might
   9    deformity, we both see that. Even though     9   perform a cosmetic procedure on a minor.
  10    there's no functional problem there and     10   Would you ever perform a cosmetic
  11    you could consider it a cosmetic            11   procedure on a minor that was for purely
  12    operation, there's a visible defect there   12   aesthetic reasons?
  13    that we can all agree on.                   13       A. Well, the cases I gave you --
  14          That -- that goes by degrees. A       14   the examples I gave you -- for example,
  15    hump on the top of the nose in a young      15   the correction of an ear deformity in an
  16    woman -- we can all see the hump. Again,    16   adolescent boy, that would be cosmetic.
  17    no functional deformity there, but the      17   I can measure the differences between his
  18    hump might be commensurate with her         18   one ear and the other. There are actual,
  19    ethnicity. And it gets very -- it can       19   you know, demonstrable cosmetic issues
  20    sometimes be very, very subtle, but what    20   that can be corrected that can be
  21    they all have in common is changing the     21   discussed with the patient and their
  22    appearance in order to improve the          22   parents. But the surgery is aesthetic
  23    subjective life of the patient.             23   because it's having an affect --

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   1        Q. Okay. And beyond those                1   hopefully, if I have planned it well and
   2    instances where there's some sort of         2   executed it well, it will have a positive
   3    defect that you're able to see, are there    3   effect on the subjective life of the
   4    reasons that patients might undergo a        4   young -- of the boy.
   5    cosmetic surgery for purely aesthetic        5      Q. Doctor, let's talk about the law
   6    reasons? They just want to change            6   that we're here about today a little bit.
   7    something about their body or their face?    7   I know you're familiar with SB184. You
   8          MR. MCKAY: Object to the form.         8   advocated for its passage in the
   9        A. Yes. That would be the more           9   legislature, right?
  10    common presentation for cosmetic surgery.   10      A. That's correct.
  11        Q. Okay. And so just for purposes       11      Q. How did you come to speak before
  12    of today -- and I'm trying to talk          12   the legislature on the topic?
  13    through these issues with you -- do you     13         MR. MCKAY: Object to the form.
  14    draw a distinction between purely           14      A. I was made aware of the
  15    aesthetic surgery versus cosmetic           15   effort -- I don't remember who told me
  16    surgery, or do you consider it all the      16   about it, and I don't remember who
  17    same?                                       17   invited me down to address the
  18        A. Aesthetic and cosmetic are terms     18   legislature in Montgomery. And I -- it
  19    that are often used interchangeably, but    19   may have been one of the people from
  20    there's a distinction that I would make     20   Eagle Forum. I don't remember who
  21    in the sense that cosmetic simply speaks    21   contacted me first.
  22    about the details of the change in form.    22      Q. Did you have a connection with
  23    Aesthetic takes in the bigger picture of    23   one of the individuals in Eagle Forum


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   1    prior to this?                               1   that had passed law that was being
   2        A. No.                                   2   challenged. This was the case in
   3        Q. Do you know how they would have       3   Arkansas. It's also the case in Florida.
   4    known to contact you?                        4         I have offered a professional
   5           MR. MCKAY: Object to the form.        5   opinion in North Carolina in their
   6        A. I would be speculating that they      6   defense of an administrative policy.
   7    might have heard that I was making public    7   I have offered a similar professional
   8    presentations on the subject.                8   opinion in -- I believe in Florida, it
   9        Q. And in this case, do you know         9   started out as an executive decision, and
  10    which aspect of the law that the            10   it has now morphed into a legislation
  11    plaintiffs are challenging?                 11   much like Alabama and Arkansas.
  12        A. I'm sorry. Could you ask me          12       Q. Okay. So I've got Arkansas,
  13    that question again?                        13   Florida, North Carolina. Anywhere else?
  14        Q. Yeah. In this case, do you know      14       A. In terms of public law?
  15    what aspects of the law the plaintiffs      15       Q. Yes. And let me specify. I'm
  16    are challenging?                            16   talking about laws that are similar to
  17        A. My understanding is that             17   the one here in Alabama that are seeking
  18    plaintiffs are challenging the              18   to restrict medical treatment --
  19    restriction on social affirmation -- I'm    19   gender-affirming treatment for
  20    sorry. Puberty-blocking and cross-sex       20   transgender individuals.
  21    hormones.                                   21       A. I have also offered written
  22        Q. You understand -- I know you put     22   professional testimony in Missouri now.
  23    this in your report, so I know you do       23       Q. And it sounds like, if I'm

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   1    understand it. But plaintiffs are not        1   understanding you correctly, in each of
   2    challenging the section of the law           2   these states, what you did is similar to
   3    pertaining to surgeries, correct?            3   what you're doing here. You offered your
   4        A. That's my understanding.              4   opinions as an expert witness in those
   5        Q. What other states have you            5   cases?
   6    lobbied in for passage of similar laws?      6       A. Yes.
   7          MR. MCKAY: Object to form.             7       Q. And in how many of those cases
   8        A. I haven't lobbied in any other        8   did you sit for deposition?
   9    states that I can recall.                    9       A. I was deposed in the North
  10        Q. Okay. So you haven't traveled        10   Carolina case, Arkansas. I cannot
  11    to any other states and spoken in favor     11   remember if I had a pretrial deposition
  12    of laws that are similar to the one here    12   in the Florida case.
  13    in Alabama?                                 13       Q. Okay. So the two you can
  14          MR. MCKAY: Object to form.            14   remember are Arkansas and North Carolina?
  15        A. I haven't traveled to other          15       A. Yes.
  16    states to lobby for the passage of laws.    16       Q. And have you given trial
  17        Q. Okay. It looks like you're           17   testimony in any of those cases?
  18    drawing a distinction there. What have      18       A. I have in --
  19    you done in support of laws in other        19       Q. In which ones?
  20    states?                                     20       A. In Arkansas and in Florida.
  21        A. I have offered my professional       21       Q. In this case, Doctor, do you
  22    opinion to other states who are in          22   know who the plaintiffs are?
  23    situations similar to Alabama, states       23       A. My understanding is that one of


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   1    the plaintiffs is an endocrinologist from    1      A. I don't remember.
   2    Birmingham whom I met.                       2      Q. You're not planning to talk or
   3        Q. Who is that?                          3   give any opinions about the specific care
   4        A. That was -- I think it's              4   that the minors in this case have
   5    Dr. Ladinsky.                                5   received, correct?
   6        Q. Okay.                                 6      A. Correct.
   7        A. Is that correct?                      7      Q. Doctor, do you know what the
   8        Q. I'm just curious your knowledge.      8   standard of care in Alabama is for the
   9    I want to know what you know about this      9   treatment of gender dysphoria?
  10    case.                                       10         MR. MCKAY: Object to the form.
  11          So you think Dr. Ladinsky is one      11      A. I would need you to explain to
  12    of the plaintiffs in this case?             12   me what you mean by the term "standard of
  13        A. I remember seeing her name on        13   care."
  14    one of the -- one of the documents that I   14      Q. Well, how would you define the
  15    was reviewing when I was preparing for      15   standard of care?
  16    this and --                                 16      A. Standard of care is a very
  17        Q. Okay. And you think that             17   specific term, in my professional
  18    Dr. Ladinsky is an endocrinologist?         18   experience. Standard of care means that
  19          MR. MCKAY: Object to the form.        19   a particular model of diagnosis and
  20        A. My understanding is Dr. Ladinsky     20   treatment is so well supported in the
  21    works with an endocrinologist, and they     21   medical literature that alternatives to
  22    operate a clinic at the University of       22   that model of care should only be used if
  23    Alabama.                                    23   there is -- if there isn't a significant

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   1       Q. All right. Do you know -- who          1   risk to the patient.
   2    else do you think is a plaintiff in this     2          So standard of care suggests
   3    case? And if you don't know, that's          3   that a deviation can be expected to be
   4    fine. I'm just trying to get an              4   harmful with such high probability that
   5    understanding of what you know about this    5   it should -- most likely, an alternative
   6    case.                                        6   to the standard of care should not be
   7       A. I don't know. I mean, I have           7   entertained contrasted with a treatment
   8    some conjecture. I may have met -- but I     8   guideline.
   9    don't -- I don't know the -- I don't know    9          [technical difficulties]
  10    the plaintiffs by name.                     10          (Whereupon, deposition
  11       Q. And I'm not -- let me ask you         11   interrupted due to technical difficulties
  12    this. I'm not asking you to give me         12   at 9:49 a.m. to 9:52 a.m.)
  13    names, just sort of a general               13       Q. All right. Doctor, we're going
  14    description. You think there's a doctor     14   back on the record. We just had a little
  15    involved. Do you think there are any        15   bit of technical difficulty. So I
  16    other individuals involved?                 16   apologize, but I have to revisit some
  17          MR. MCKAY: Object to form.            17   questions.
  18       A. My understanding is there's at        18          I understand where we left off
  19    least one minor involved and the parent,    19   we were talking about the standard of
  20    uh-huh.                                     20   care for treatment of gender dysphoria in
  21       Q. Okay. Have you reviewed any of        21   Alabama, and you were going to define
  22    those minor's medical records in this       22   what you understand the term "standard of
  23    case?                                       23   care" to mean. So could you please give


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   1    us that definition again?                    1         Q. And what prompted you to read
   2        A. Yes. The use of the term              2   it?
   3    "standard of care" implies that there is     3       A. A desire on my part to be
   4    a body of evidence that is so compelling,    4   familiar with what gender affirmation
   5    a body of evidence of what we would call     5   treatments are about.
   6    level three or high quality evidence that    6       Q. And other than reading through
   7    would suggest that there is a certainty      7   the WPATH standard of care yourself, what
   8    of harm or a high likelihood of harm to      8   other additional training have you sought
   9    the patient if that model of care isn't      9   out specific to those standards of care?
  10    adhered to. I know of no such body of       10         MR. MCKAY: Object to the form.
  11    evidence to support gender affirmation      11       A. In addition to reviewing the
  12    care.                                       12   standard of care document itself, I also
  13        Q. So is it your position then that     13   reviewed the literature that is appended
  14    based on that definition, there is not a    14   or cited in the document, and then I also
  15    standard of care for the treatment of       15   attended a plastic surgery conference in
  16    gender dysphoria in Alabama?                16   California, part of which was dedicated
  17        A. There is a treatment model           17   to gender affirmation surgery.
  18    that's being used in the state of Alabama   18       Q. What conference was that?
  19    that calls it itself a standard of care.    19       A. That was California Society of
  20    But upon my examination of that treatment   20   Plastic Surgery which on that occasion
  21    model, it is not a standard of care.        21   met in San Francisco.
  22        Q. Okay. And when you say it calls      22       Q. What year was that?
  23    itself a standard of care, what do you      23       A. I would be guessing. Perhaps

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   1    mean by that? Who calls it that?             1   2017 or 2018. I would have to look in my
   2          MR. MCKAY: Object to form.             2   travel records.
   3        A. The clinics that offer gender         3       Q. Okay. How much of that
   4    affirmation care virtually always refer      4   presentation was dedicated to discussing
   5    to the WPATH document as a standard of       5   gender affirmation care?
   6    care and describe their own treatment of     6       A. An entire half day.
   7    patients as adhering to that standard of     7       Q. And do you remember who any of
   8    care.                                        8   the speakers were?
   9          So thereby, the claim is made          9       A. I believe one of them was
  10    that the gender affirmation treatments      10   Dr. Marci Bowers. Another one -- I
  11    offered to children in Alabama is a         11   cannot remember his name. He's a very
  12    standard of care. But the treatment         12   prominent gender affirmation surgeon in
  13    document that -- the treatment -- the       13   San Francisco. I can see his face, but I
  14    standard of care from WPATH is not a        14   can't remember his name.
  15    standard of care because it does not meet   15       Q. All right. Other than reading
  16    the criteria of level three evidence or     16   the standards of care, reading the
  17    better in order to guide treatment          17   literature that's cited, and attending
  18    decisions. So by definition, it is not a    18   this conference, have you done anything
  19    standard of care.                           19   else to educate yourself about the
  20        Q. When did you first become            20   WPATH's standards of care?
  21    familiar with the WPATH standard of care?   21          MR. MCKAY: Object to form.
  22        A. I think the first time I read it     22       A. I have had long conversations
  23    was in 2014 or 2015.                        23   with medical colleagues who have


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   1    expertise in endocrinology, psychiatry,      1   his practice is for gender dysphoria?
   2    developmental pediatrics. So                 2      A. I don't.
   3    professional colloquium, I suppose. It's     3      Q. Are you aware of any of those
   4    been a running conversation for many         4   colleagues that you've spoken to that
   5    years now.                                   5   treat gender dysphoria in minors?
   6       Q. And you spoke with those               6      A. No, I'm not aware.
   7    colleagues specifically about the WPATH      7      Q. And I know you disagree with it,
   8    standards of care?                           8   and I'm not trying to get you to agree
   9       A. It commonly enters into our            9   with it, but I just want to run through
  10    conversation.                               10   some questions for you about the WPATH
  11       Q. Okay. Any of those individuals        11   standard of care.
  12    provide gender-affirming care?              12         Do you know if the WPATH
  13           MR. MCKAY: Object to the form.       13   standard of care requires all individuals
  14       A. Not to my knowledge.                  14   diagnosed with gender dysphoria to
  15       Q. Do you know if any of those           15   receive gender-affirming medications?
  16    individuals treat patients with gender      16      A. My reading of the WPATH
  17    dysphoria at all?                           17   standards of care is it doesn't make
  18           MR. MCKAY: Object to form.           18   requirements like that.
  19       A. I believe at least one of the         19      Q. What does it do instead?
  20    psychiatrists does in adults.               20      A. It insists on affirmation and
  21       Q. Other than that one patient           21   describes a process of care that includes
  22    that -- one of the psychiatrists that you   22   affirmation psychological support that
  23    spoke to, you're not aware of any others    23   includes affirmation endocrinological

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   1    that treat patients with gender              1   treatments and surgical treatments, all
   2    dysphoria?                                   2   of them affirming in nature that none of
   3           MR. MCKAY: Object to form.            3   those steps being required other than the
   4        A. I do not know the scope of their      4   requirement for affirmation broadly.
   5    practice. Is your question do they treat     5       Q. Okay. So your reading of it is
   6    them with gender affirmation?                6   that it requires affirmation and then
   7        Q. Well, my question -- I asked you      7   provides physicians with treatment
   8    initially about gender affirmation, and I    8   options available?
   9    think you told me that you don't think       9          MR. MCKAY: Object to the form.
  10    any of them do. And then I asked more       10       A. Yes. My reading of the standard
  11    broadly do you know if they treat any of    11   of care is that the document begins with
  12    them for gender dysphoria. And you told     12   wording in its introduction that
  13    me about one individual, the                13   essentially does not refer to itself as a
  14    psychologist, I think, or psychiatrist      14   standard of care because it speaks about
  15    who treats one individual, an adult, who    15   broad options of care. So that would fit
  16    does have gender dysphoria. Is that         16   into the category of what we call a
  17    correct?                                    17   treatment guideline. And that's really
  18        A. No, I didn't say one patient. I      18   how the standard of care presents itself
  19    said one colleague who --                   19   is a treatment guideline, which, by
  20        Q. Oh, okay.                            20   definition, implies options of care being
  21        A. -- I believe treats gender           21   offered, but the document itself does not
  22    dysphoric adults.                           22   offer options of care. It offers
  23        Q. Okay. And do you know how big        23   affirmation care, which, when followed,


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   1    is a continuum from social affirmation       1       Q. When a minor presents to UAB for
   2    with psychological supporting processes,     2   gender dysphoria, what is UAB's treatment
   3    hormonal affirmation, and surgical           3   protocol for treating that patient?
   4    affirmation.                                 4         MR. MCKAY: Object to the form.
   5           The document does not present         5       A. To the degree to which the UAB
   6    alternatives of care. So it doesn't even     6   group adheres to the WPATH standard of
   7    meet the criteria that is necessary for      7   care and depending on the age at which
   8    it to be called a treatment guideline.       8   the child presents, social affirmation is
   9        Q. Okay. I want to make sure I'm         9   their standard treatment. Social
  10    being clear about this. And I think         10   affirmation.
  11    we're on the same page. But your            11       Q. Have you spoken with any
  12    understanding and reading of the WPATH      12   providers at UAB to try and determine how
  13    standards of care is that it provides       13   they go about treating patients with
  14    gender-affirming treatment options to       14   gender dysphoria?
  15    physicians, but none of those treatment     15       A. I have.
  16    options are required?                       16       Q. Who have you spoken with?
  17           MR. MCKAY: Object to form.           17       A. Dr. Ladinsky.
  18        A. My reading of the standard of        18       Q. When did you speak with her?
  19    care is -- in fact, on the introductory     19       A. I spoke with her when we were
  20    page, it speaks of the document as being    20   both testifying before the state
  21    nonbinding apart from the overarching       21   legislature on the issue of the law in
  22    principle of affirmation. So it -- it's     22   question.
  23    not binding in terms of particular          23       Q. Tell me about that conversation.

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   1    treatments other than the fact that all      1       A. It was an informal conversation
   2    treatments must be affirmation. It           2   there in the well during a break, and she
   3    doesn't -- yeah.                             3   was explaining to me the process in the
   4        Q. Okay. So the answer is yes, it        4   gender affirmation clinic. The bulk of
   5    doesn't require any of those treatments?     5   the conversation included her being
   6           MR. MCKAY: Object to form.            6   adamant that surgery was not being
   7        A. It does not require, which is         7   offered in the clinic, but
   8    one of the striking things about the         8   endocrinological manipulation and social
   9    document.                                    9   affirmation were.
  10        Q. Okay. Is it your understanding,      10       Q. About how long did that
  11    Doctor, that all transgender persons want   11   conversation last?
  12    to receive gender-affirming care?           12       A. Perhaps ten minutes.
  13        A. No, it is not.                       13       Q. Anything else you can remember
  14        Q. All right. Is it your                14   about that conversation?
  15    understanding that all -- let me clarify    15       A. I remember that Dr. Ladinsky was
  16    that question. Is it your understanding     16   adamant that surgery wasn't being offered
  17    that all transgender persons want to        17   to minors in the state of Alabama, which
  18    receive gender-affirming medications?       18   I found to be an interesting distinction.
  19        A. It is not.                           19       Q. Why do you say that?
  20        Q. Is it your understanding that        20       A. I say that because the gender
  21    all transgender persons want                21   affirmation model leaves open the whole
  22    gender-affirming surgeries?                 22   progression from social affirmation,
  23        A. It is not.                           23   medical affirmation, and surgical


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   1    affirmation. And I found it curious          1   from social affirmation to medical
   2    why -- since all of those steps are based    2   endocrinological affirmation steps.
   3    on the same diagnostic model, why she        3   Yeah.
   4    wouldn't feel it important to be an          4       Q. Anything else you remember
   5    advocate for surgical affirmation. I         5   about -- remember from reviewing their
   6    wondered why she made the distinction.       6   website?
   7        Q. And did you ask her that              7       A. I seem to remember that it
   8    question?                                    8   emphatically didn't discuss surgical
   9        A. I did.                                9   affirmation, but that may have changed.
  10        Q. And what did she say?                10   I don't remember a particular -- I
  11        A. She did not answer.                  11   remember that in speaking, for example,
  12        Q. Did you ask her any other            12   to Dr. Ladinsky that she was adamant that
  13    questions?                                  13   the clinic was not offering surgical
  14        A. I don't remember. That was some      14   affirmation, and I found that remarkable.
  15    years back. I don't remember that to --     15       Q. And do you have any reason to
  16        Q. Anything else you recall about       16   dispute what she told you?
  17    that conversation?                          17         MR. MCKAY: Object to the form.
  18          MR. MCKAY: Object to the form.        18       A. What would you mean by
  19        A. Not right now that I can recall.     19   "dispute"?
  20        Q. Any other providers at UAB that      20       Q. In other words, do you have
  21    you've spoken to try and determine          21   reason to believe that UAB does provide
  22    about -- determine how they go about        22   gender-affirming surgeries to minors?
  23    treating their patients with gender         23       A. I have no reason to believe that

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   1    dysphoria?                                   1   they're offering gender affirmation
   2       A. I don't remember conversations         2   surgeries to minors.
   3    with other particular providers. I           3       Q. Okay. Do you know UAB's
   4    remember reviewing their web page,           4   position on prescribing gender-affirming
   5    reviewing the documents, and reviewing       5   medications to minors?
   6    the information that they post there.        6       A. My understanding is that they
   7    That was a couple of years ago.              7   are -- they follow the WPATH guidelines
   8       Q. When you say reviewing their           8   in the treatment model for what they
   9    documents and posts, you mean on --          9   diagnose as gender dysphoria.
  10    that's available on their website?          10       Q. What do you base that
  11       A. Right.                                11   understanding on?
  12       Q. Okay. Do you remember any             12       A. Having visited their web page a
  13    specific documents that you would have      13   couple years -- well, perhaps last year,
  14    reviewed?                                   14   and my conversation with Dr. Ladinsky.
  15       A. I remember reviewing the web          15       Q. Does their website indicate that
  16    page and finding that it was fairly         16   they provide gender-affirming medications
  17    typical of such clinical -- clinic web      17   to minors?
  18    pages in terms of the wording, the          18       A. I don't know if the website
  19    references to WPATH, the words that they    19   includes that information or not.
  20    used to describe the condition of gender    20       Q. Does it include reference to the
  21    dysphoria, the treatment model that they    21   WPATH standard of care?
  22    offer in the clinic, the fact that the      22       A. The last time I reviewed that
  23    treatment model includes the progression    23   web page, I believe it does, yes.


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   1       Q. When is the last time you              1   body dysmorphic disorder of which gender
   2    reviewed that web page?                      2   identity disorder is a subcategory.
   3       A. Perhaps a year ago.                    3       Q. Okay. Let's break that down a
   4           MRS. VAGUE: Doctor, we've been        4   little bit. What were his motivations
   5    going a little over an hour. It's            5   for surgery?
   6    probably a good time to take a break, if     6       A. A very feminine-appearing face.
   7    that's good with everyone.                   7       Q. Okay. And based on that
   8           THE WITNESS: That's fine with         8   description to you, you decided that that
   9    me. Thank you.                               9   was not a valid or good reason to proceed
  10           MR. MCKAY: Do you want to do         10   with the surgery?
  11    like five, ten minutes?                     11          MR. MCKAY: Object to the form.
  12           MRS. VAGUE: Five minutes should      12       A. The goals of facial feminization
  13    be good.                                    13   are sometimes really evident and easily
  14           THE COURT REPORTER: Okay.            14   reached, and other times so remote as to
  15    We're off the record.                       15   be considered technically very, very
  16           (Whereupon a brief recess was        16   difficult.
  17    taken from 10:14 a.m. to 10:24 a.m.)        17          Regardless of the patient's
  18       Q. Doctor, we're back on the             18   presentation, whether it be for gender
  19    record, and I wanted to revisit something   19   issues or otherwise, if they have a very
  20    just real quickly to make sure I            20   masculine looking nose that they want to
  21    understood.                                 21   make look feminine or if they have a very
  22           I've looked back in my notes,        22   feminine looking face that they want to
  23    and you told me earlier about an            23   make look masculine, those can be very

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   1    individual patient of yours that came to     1   much out of technical reach. So there
   2    you seeking -- I think you had told me a     2   were two reasons for declining the
   3    rhinoplasty for the purpose of providing     3   surgery.
   4    gender-affirming care, and you declined      4       Q. Yeah. And I'm trying to focus a
   5    to perform that surgery; is that right?      5   little bit more on that second reason. I
   6       A. That's correct.                        6   understand the first reason that you
   7       Q. And just to clarify, why did you       7   gave. And the second reason was his
   8    decline to perform that surgery?             8   motivation indicated to you that he
   9       A. To my recollection, there were         9   wasn't a proper candidate for surgery.
  10    two reasons to decline the surgery. One     10       A. Right.
  11    was the physical expectation of a           11       Q. And just a couple more questions
  12    feminized nose, which is a hard thing to    12   on that. You indicated that he was
  13    gauge in a cosmetic patient. But the        13   seeking a more feminine nose, a more
  14    level of feminine refinement that they      14   feminine face. Are those things he told
  15    were seeking I thought was -- if -- if it   15   you?
  16    was -- if there were no other factors       16       A. This is the impression I get. I
  17    involved, I would have considered it to     17   don't have his records at hand, and this
  18    be a very difficult operation to promise    18   was a couple of years back. But
  19    success in.                                 19   definitely looking for a
  20          And the second reason was my          20   feminine-appearing nose.
  21    understanding of their motivation for       21       Q. You can't recall if he used
  22    surgery put the patient in the category     22   those words or not?
  23    of patients that we describe as having a    23       A. I know that in the course of our


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   1    conversation, it was evident that he was     1   obsessive thinking. So by --
   2    looking for feminization of his face.        2       Q. I guess my question is more when
   3    What particular words he used, I don't       3   you say that -- and you're using the term
   4    recall.                                      4   "gender identity disorder." When you say
   5       Q. And you indicated that based on        5   gender identity disorder is a subset of
   6    your conversation with him, you suspected    6   body dysmorphic disorder, is that based
   7    that he perhaps had body dysmorphic          7   on your reading of the DSM, or where are
   8    disorder?                                    8   you getting that understanding?
   9       A. Yes.                                   9          MR. MCKAY: Object to the form.
  10       Q. Tell me what body dysmorphic          10       A. In part, it's from my reading of
  11    disorder is.                                11   the DSM over the years and reading of
  12       A. Body dysmorphic disorder is a         12   psychiatric literature, plastic surgery
  13    psychological condition that afflicts       13   literature relating to body dysmorphic
  14    patients who have been emotionally          14   disorder. It's a subject that we get
  15    wounded in some way in a way that they do   15   extensive training in.
  16    not wish to examine. So what the patient    16       Q. And you were trained
  17    does is ascribes their sorrows to their     17   specifically to understand that gender
  18    physical appearance.                        18   identity disorder is a subset of body
  19       Q. Is there anything more to it?         19   dysmorphic disorder?
  20    Any other aspects of it?                    20          MR. MCKAY: Object to the form.
  21          MR. MCKAY: Object to the form.        21       A. That body dysmorphic disorder is
  22       A. As far as the psychological           22   the overarching category, but gender
  23    processes go, the search for an             23   identity disorder is a subset of that

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   1    explanation for the patient's sorrow they    1   where the content of the obsessive
   2    ascribe to a physical appearance,            2   thought has to do with the sex appearance
   3    something about their physical               3   of a patient.
   4    appearance -- it may be their weight. It     4      Q. Is it your understanding that
   5    may be the shape of their nose. It may       5   the current DSM-5 categorizes them in
   6    be their sex appearance. Whatever it is,     6   that same way?
   7    they're ascribing their interior sorrows     7         MR. MCKAY: Object to the form.
   8    to their physical appearance.                8      A. DSM-5 has dropped the diagnostic
   9          And as I recall from this              9   category of gender identity disorder and
  10    patient, that was the case, that he was     10   now names it gender dysphoria.
  11    ascribing his sorrows to the appearance     11      Q. Okay. Is it your understanding
  12    of his nose, which, to my recollection,     12   that gender dysphoria in the DSM-5 is in
  13    his nose was quite normal looking.          13   the same category as body dysmorphic
  14        Q. And you indicated that it's your     14   disorder?
  15    understanding that gender identity          15      A. DSM-5 has stated name of
  16    disorder is a subset of body dysmorphic     16   depathologizing gender identity disorder,
  17    disorder?                                   17   and in doing that, removed it from the
  18        A. Yes.                                 18   prior categorization as a -- that would
  19        Q. What is that based on?               19   have subsumed it under obsessive
  20        A. It's based on an obsessive           20   compulsive disorder as body dysmorphic
  21    process of thought that leads to            21   disorder. It's now been removed into its
  22    compulsive behaviors that seek to manage    22   own category as gender dysphoria.
  23    the anxiety that's produced by that         23      Q. Okay. The patient that came to


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   1    you that you believe had body dysmorphic     1      A. Over 30 years' time?
   2    disorder, did you refer him to another       2      Q. Yes.
   3    health care provider to help treat that?     3      A. Plastic surgery, perhaps one or
   4       A. As I recall, they refused the          4   two percent. More in recent years as
   5    referral, but I don't know. This has         5   more of my practice became aesthetic.
   6    been a couple of years ago.                  6      Q. In your experience, are there
   7       Q. You think you referred him, but        7   degrees of body dysmorphia?
   8    you're not sure?                             8      A. Yes.
   9       A. My recollection is that the            9      Q. And how does that impact whether
  10    patient left dissatisfied with the visit.   10   a patient is a candidate for cosmetic
  11       Q. Any other patients that have          11   surgery?
  12    come to you seeking gender-affirming        12      A. Because you're dealing in the
  13    surgeries?                                  13   subjective life of the patient since
  14       A. Surgeries, no.                        14   aesthetic surgery aims itself at
  15       Q. And if you had a patient that         15   improving the subjective life of a
  16    approached you for gender-affirming         16   patient, the potential benefit of it can
  17    surgeries, would you consider performing    17   be hard to estimate. And it always
  18    that surgery?                               18   requires a conversation with the patient
  19       A. No.                                   19   to understand what their motivation for
  20       Q. Why not?                              20   the surgery is.
  21       A. I consider it unethical.              21         So, for example, breast
  22       Q. Why would you consider it             22   augmentation surgery is a very common
  23    unethical?                                  23   cosmetic operation, aesthetic operation.

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   1        A. Because the underlying diagnosis      1   And depending on the patient's
   2    is a psychiatric diagnosis, and surgery      2   presentation, it can be a very routine
   3    is not a proven remedy for psychiatric       3   visit or it can -- it could become a very
   4    disturbances.                                4   almost pastoral visit in the sense
   5        Q. Let's talk a little bit more          5   that the most common patient would be a
   6    about body dysmorphic disorder. When is      6   woman who has had children already
   7    the physical onset of -- and do you care     7   seeking to improve her appearance
   8    if refer to it as BDD to kind of shorten     8   following breastfeeding. That's a very
   9    it?                                          9   common presentation.
  10        A. That's fine.                         10          If in the course of that
  11        Q. Do you know when the typical         11   presentation the patient starts talking
  12    onset of BDD is?                            12   about her failing marriage that she
  13        A. I don't off the top of my head.      13   thinks will be remedied by breast
  14        Q. Do you know how common it is in      14   augmentation, then that patient has moved
  15    the general population?                     15   into the category of body dysmorphic
  16        A. I don't.                             16   disorder. She's seeking to explain an
  17        Q. How many patients in your            17   interior wound by her external
  18    practice over the years presented with      18   appearance. So the very same patient in
  19    BDD?                                        19   the course of a single visit can go from
  20        A. Many. I don't have a particular      20   a routine cosmetic patient to body
  21    number for you. Over --                     21   dysmorphic disorder.
  22        Q. Yeah. If you had to give me a        22       Q. Okay. And in a situation like
  23    percentage, what would you say?             23   that, would that candidate -- would


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   1    patient be a candidate for cosmetic          1   where I would have -- probably on a
   2    surgery?                                     2   return visit with me have a discussion
   3          MR. MCKAY: Object to the form.         3   about psychological support and an
   4       A. That would depend on a lot of          4   examination for the patient's sorrow.
   5    conversation and probably a return visit     5       Q. Are there times where you
   6    where we could kind of get an                6   recommended that a patient seek
   7    understanding of what her actual             7   psychological support in conjunction with
   8    difficulties are. Because it's very          8   the cosmetic procedure that you're going
   9    important in consenting patients for         9   to perform as well?
  10    aesthetic surgery that their expectations   10         MR. MCKAY: Object to the form.
  11    be understood because the worst and most    11       A. I don't remember ever offering
  12    broadly known complication of aesthetic     12   them in parallel where the patient is
  13    surgery is disappointment.                  13   undergoing psychiatric support while
  14       Q. So then is it fair to say that        14   cosmetic surgeries are being done.
  15    there are patients who might suffer from    15         I have done it in the case of
  16    mild or moderate BDD who would be the       16   reconstructive surgeries. Combat trauma
  17    perfect candidates for cosmetic surgery?    17   patients, for example; reconstructive
  18          MR. MCKAY: Object to the form.        18   surgery patients, simultaneous
  19       A. Yes, perhaps.                         19   psychological support for those patients
  20       Q. And how do you go about making        20   is quite common. In the case of a
  21    that determination whether a patient is     21   cosmetic surgery patient, it's far less
  22    an appropriate candidate or not?            22   common.
  23       A. In the process of consultation        23       Q. The patient that you told me

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   1    for aesthetic surgery, one of the key        1   about earlier, the rhinoplasty example
   2    parts of the conversation is                 2   that you gave me, the individual that you
   3    understanding the patient's motivation       3   declined to perform surgery on, if that
   4    for the surgery, what their expectations     4   same patient went down the street to
   5    are. And sometimes it requires a little      5   another plastic surgeon and told him the
   6    additional probing, but you want to          6   same facts and that surgeon opted to
   7    understand their motivation, what their      7   perform the surgery, would that be
   8    expectation is because I have to have        8   medically appropriate?
   9    some certainty that their -- that their      9         MR. MCKAY: Object to the form.
  10    expectations will be met.                   10       A. If that surgeon and I were
  11       Q. Do you ever consult a                 11   having a private conversation about it, I
  12    psychologist or psychiatrist to help you    12   would probably challenge them on it. I
  13    determine whether a patient is an           13   don't -- I'm not in the habit of
  14    appropriate candidate for surgery?          14   second-guessing other surgeons in terms
  15       A. Yes, I have.                          15   of how they -- how they evaluate their
  16       Q. In what situations would you          16   patients. And it may be that that
  17    consult a mental health care provider?      17   surgeon might feel that the wishes and
  18       A. If the patient in the course of       18   desires of the patient to be within reach
  19    the consultation expresses profound         19   of their technical skills.
  20    grief, if they associate their grief with   20       Q. So it wouldn't be your position
  21    their outward appearance, particularly if   21   that necessarily the other surgeon has
  22    their outward appearance is for the most    22   breached some sort of ethical,
  23    part normal, then that is a circumstance    23   professional conduct in performing that


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   1    surgery?                                     1   rhinoplasties?
   2        A. Depending on the operation we're      2      A. No.
   3    talking about.                               3      Q. Let's talk a little bit about
   4        Q. I'm talking about the                 4   breast augmentation. You mentioned it
   5    rhinoplasty example.                         5   earlier, and I know you talk about in
   6        A. Well, I can think of examples         6   your report. How many breast
   7    where there might be a breach of             7   augmentation surgeries have you performed
   8    ethics --                                    8   over the years?
   9        Q. I'm saying necessarily under no       9      A. I would be guessing. At some
  10    circumstances would it be appropriate,      10   number about 500.
  11    and it sounds like that's not your          11      Q. And are those -- if you had to
  12    position.                                   12   divide them between reconstructive versus
  13        A. It's not my position in terms of     13   cosmetic, how would you quantify those?
  14    the facial aesthetic surgeries.             14      A. Reconstructive breast surgery
  15        Q. Okay. I take it then that it         15   and breast augmentation are separate
  16    wouldn't be your position that that         16   categories.
  17    surgeon committed malpractice by deciding   17      Q. Okay. Thank you for that
  18    to perform that rhinoplasty?                18   clarification. So how would you describe
  19          MR. MCKAY: Object to the form.        19   breast augmentation?
  20        A. No.                                  20      A. Breast augmentation is the
  21        Q. And I take it that you would not     21   enlargement of the breast either using a
  22    think criminal penalties would be           22   prosthesis or the patient's own fat to
  23    appropriate for a surgeon in that           23   improve the aesthetic appearance of the

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   1    scenario; is that right?                     1   breast.
   2          MR. MCKAY: Object to the form.         2      Q. So would you describe all of
   3       A. Criminal penalties for                 3   those procedures as cosmetic procedures?
   4    rhinoplasty?                                 4      A. I'm sorry. I thought I was
   5       Q. Correct.                               5   describing cosmetic breast augmentation.
   6       A. No.                                    6      Q. Yeah. And that's what I'm
   7       Q. Doctor, have you ever had a            7   asking you about. And you seem to be
   8    patient express regret about a cosmetic      8   drawing a distinction between that --
   9    procedure that you performed?                9   between breast augmentation versus
  10       A. Yes.                                  10   reconstructive breast surgery, correct?
  11       Q. How many times has that               11      A. Correct.
  12    happened?                                   12      Q. And I'm just trying to clarify
  13       A. Over 30 years of practice,            13   for my own knowledge. I recognize I'm
  14    perhaps 2 or 3 times.                       14   not nearly as experienced as you. So I'm
  15       Q. Do you remember what the              15   sorry if I misuse the language
  16    procedures were?                            16   occasionally.
  17       A. The one that stands out in my         17         But breast augmentation as you
  18    mind is a rhinoplasty on a male.            18   described it is cosmetic in nature; is
  19       Q. Did you stop performing               19   that correct?
  20    rhinoplasties after that?                   20      A. For the most part, yes.
  21       A. No.                                   21      Q. Are there scenarios where it's
  22       Q. Did you recommend to any other        22   not cosmetic in nature?
  23    surgeons that they not perform              23      A. Yes. So, for example -- so a


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   1    girl who is in adolescent development has    1   the body, bring balance there, and to
   2    a massive development of one breast and      2   make it easier for the patient to dress
   3    little development of the other.             3   for the day, prepare for the day, and not
   4    Essentially, what she has there is a         4   worry about what she looks like.
   5    congenital deformity or a developmental      5         So it's an aesthetic operation
   6    deformity. The correction of which could     6   that has measurable outcomes when the
   7    be considered cosmetic because it's not      7   patient's expectations of benefit are
   8    producing a functional improvement or a      8   reasonable.
   9    functional restoration.                      9       Q. Who determines whether the
  10            And this is what we were talking    10   expectations are reasonable?
  11    about earlier goes by degrees. So in        11       A. Me.
  12    this case, you could make the case that     12       Q. How do you make that
  13    it's a reconstructive operation, but in     13   determination?
  14    fact, it's a unilateral breast              14       A. In the course of the
  15    augmentation.                               15   consultation, the kind of questions that
  16         Q. Okay.                               16   are a part of the conversation, which I
  17         A. But it would be perhaps in the      17   try to keep as informal and positive as I
  18    category of reconstructive.                 18   can, seeking to understand the patient's
  19         Q. Okay. But you would consider it     19   motivation. And most typically, that's a
  20    cosmetic, or how do you classify it?        20   fairly easy thing to understand.
  21         A. In the case of a woman with what    21       Q. Have you ever performed a breast
  22    I just described to you, Poland's           22   augmentation surgery for cosmetic reasons
  23    Syndrome, it's considered a                 23   on a person under the age of 19?

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   1    reconstructive operation.                    1       A. I believe I did a unilateral
   2       Q. So the majority of breast              2   breast augmentation on a girl who was, I
   3    augmentations, though, are for cosmetic      3   think, a senior in high school at the
   4    reasons?                                     4   time, but I think she was about 18 years
   5       A. Yes.                                   5   old. She had an asymmetry that we
   6       Q. Got it. Thank you for helping          6   augmented to one side.
   7    me work through that.                        7       Q. Do you remember when that was?
   8          What qualifies as a good reason        8       A. I believe that was while I
   9    in your mind to undergo a breast             9   was -- for some reason, I -- it must have
  10    augmentation for cosmetic reasons?          10   been in the late 1990s. I'm not positive
  11          MR. MCKAY: Object to the form.        11   about that date.
  12       A. So to begin with, the routine         12       Q. Anyone else under the age of 19
  13    breast augmentation would be in the         13   that you recall performing a cosmetic
  14    category of aesthetic surgery in the        14   breast augmentation on?
  15    sense that the operation aims itself at     15       A. There may have been another -- I
  16    improving the subjective life of the        16   seem to recall that -- you know, massive
  17    patient. The examination of the patient     17   asymmetry patients or significant
  18    would reveal, typically, the evolutional    18   asymmetry patients, there was probably
  19    changes in a woman who has breastfed        19   more than 1. Perhaps more than 3. I
  20    babies and has now lost her shape.          20   don't remember specifically. But over
  21          And the most common aim of the        21   the course of 30 years, I know I've done
  22    operation is to make the upper part of      22   it more than once.
  23    the body confident with the lower part of   23       Q. And these individuals that you


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   1    performed the breast augmentation on,        1   for that proposition: Considerations in
   2    were these all individuals that you would    2   Breast Augmentation in the Adolescent
   3    say had a breast defect in some way?         3   Patient.
   4       A. Asymmetry, yes.                        4       A. Yes.
   5       Q. Any patients under the age of 19       5       Q. Where in that article does it
   6    that you've performed a breast               6   say that it is unethical to perform those
   7    augmentation on who did not have some        7   procedures?
   8    sort of breast deformity?                    8       A. I don't have the article in
   9       A. No.                                    9   front of me. So I can't answer your
  10       Q. Is it your opinion that it would      10   question.
  11    be appropriate for a surgeon to perform a   11       Q. Okay. You're confident that it
  12    breast augmentation on an individual        12   does -- to make that proposition, though,
  13    under the age of 19 for reasons other       13   that it is unethical to perform those
  14    than a breast deformity?                    14   procedures?
  15       A. I would definitely not recommend      15          MR. MCKAY: Object to the form.
  16    doing that.                                 16       A. I think that the -- I don't have
  17       Q. Why not?                              17   the article in front of me. So I can't
  18       A. Issues of consent and issues of       18   recollect that detail.
  19    motivation, emotional maturity.             19       Q. Do you have a copy of that
  20       Q. I want to look at your report         20   article anywhere where you could get it
  21    really quick. And you told me you have a    21   in your building? I don't know where you
  22    copy there, right?                          22   are.
  23       A. I do.                                 23       A. I don't.

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   1       Q. I'm looking at page 17,                1      Q. Okay. If a surgeon opted to
   2    paragraph 35.                                2   perform a breast augmentation on an
   3       A. Okay.                                  3   individual under the age of 19 for reason
   4       Q. About halfway down through that        4   others than breast deformity, do you
   5    paragraph, I'm starting with the             5   think that would be considered
   6    sentence, Cosmetic breast augmentation.      6   malpractice?
   7    Do you see that?                             7         MR. MCKAY: Object to the form.
   8       A. Right.                                 8      A. I think that calling it
   9       Q. Cosmetic breast augmentation for       9   malpractice would be based in evidence of
  10    anything other than congenital breast       10   harm to the patient.
  11    deformity such as Poland's Syndrome in      11      Q. So it would be a case by case
  12    minors is not considered ethical,           12   scenario?
  13    professional conduct. Did I read that       13      A. Right. I think ethical
  14    correctly?                                  14   judgments about patient selection does
  15       A. Yes.                                  15   allow some discretion on the part of the
  16       Q. So is it your position then that      16   surgeon, but to call it malpractice, you
  17    to perform a breast augmentation on an      17   would have to have evidence of harm.
  18    individual under the age of 19 for          18         MRS. VAGUE: Let's go off the
  19    reasons other than a breast deformity       19   record for just a minute.
  20    would be unethical?                         20         THE COURT REPORTER: We're off
  21       A. To my mind, I would consider          21   the record.
  22    that ethically questionable, yes.           22         (Whereupon a brief recess was
  23       Q. And you cited an article here         23   taken from 10:57 a.m. to 11:01 a.m.)


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   1        Q. Doctor, I have pulled up on the       1      Q. Well, let's back up and make
   2    screen here the article that you have        2   sure we're talking about the same thing.
   3    cited in support of this proposition that    3   Because the highlighted section I just
   4    it is not ethical to perform breast          4   read to you said that it was referring to
   5    augmentation on minors other than for        5   individuals under 18 years of age
   6    breast deformities. Do you see that          6   accounting for 4,830 of those procedures.
   7    there on the screen?                         7      A. Right, of which half of those --
   8        A. I do.                                 8      Q. Were for cosmetic reasons?
   9        Q. Okay. And I just want to look         9      A. -- were cosmetic. Yes. So --
  10    at a couple of sections in here. I'm not    10      Q. Correct.
  11    going to make you read the whole thing on   11         And is it your opinion that
  12    the computer screen. But let's look here    12   those half that were for cosmetic reasons
  13    in this first paragraph, and I have it      13   only were violations of ethical,
  14    highlighted for ease of reference there.    14   professional conduct?
  15           It says, Nearly 32,000 breast        15      A. No.
  16    augmentations were performed -- sorry.      16      Q. All right. I want to look
  17    Let me reread that. 320,000 breast          17   now -- I'm looking at page -- just for
  18    augmentations were performed in 2011 with   18   the record, page 68, the second column,
  19    adolescents, those individuals under 18     19   last paragraph. And it says, In a
  20    years of age accounting for 4,830           20   general statement regarding plastic
  21    procedures for 1.5 percent. Reasons for     21   surgery in teenagers, the ASPC, which I
  22    surgery were evenly divided between         22   understand is the American Society for
  23    purely cosmetic augmentation and in         23   Aesthetic Plastic Surgery, suggests that

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   1    corrections of deformity such as severe      1   the best outcomes are achieved when the
   2    asymmetry to the breast deformity and        2   following are true:
   3    Poland Syndrome. Did I read that             3          Number one: The teenage patient
   4    correctly?                                   4   initiates the request and repeats this
   5        A. Yes.                                  5   request.
   6        Q. And it's not your position,           6          The teenage patient has
   7    Doctor, that those that were for purely      7   realistic goals and expectations.
   8    cosmetic reasons were necessarily            8          And number three: The teenage
   9    violations of ethical, professional          9   patient has sufficient emotional
  10    conduct, correct?                           10   maturity.
  11          MR. MCKAY: Object to the form.        11          Did I read that correctly?
  12        A. Is your question with regard to      12       A. Yes.
  13    the evidence in this paper?                 13       Q. And do you agree with those
  14        Q. Yes.                                 14   three statements there?
  15        A. Well -- so in the paper, it's        15       A. Not entirely, no.
  16    talking about those surgeries in a          16       Q. What's your disagreement?
  17    specific age group between 18 and 19        17       A. I have difficulty with such
  18    years of age, a subcategory of patients     18   statements as teenagers with realistic
  19    very much limited to that one age range     19   goals and expectations and teenagers with
  20    of 18 to 19 that excludes the congenital    20   sufficient emotional maturity. That
  21    deformities. So that would put it in the    21   being a very difficult and at the same
  22    category, I guess, of very limited age      22   time broad category of possibilities.
  23    demographic.                                23       Q. You have -- and I want to make


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   1    sure I understand what you're saying.        1         Doctor, next, I want to talk to
   2    You have difficulty thinking that            2   you about another issue that you talk
   3    teenagers can have realistic goals and       3   about in your report, and that's watchful
   4    expectations?                                4   waiting. What do you understand watchful
   5          MR. MCKAY: Object to the form.         5   waiting to mean?
   6        A. I'm not ruling out that               6      A. Watchful waiting, that term is
   7    teenagers can have realistic goals and       7   used to describe a number of
   8    expectations. I'm saying the                 8   therapeutic -- well, diagnostic and
   9    consultation has to be very careful and      9   therapeutic approaches to children who
  10    focused on that because of the higher       10   evidence gender discordance.
  11    likelihood that a teenager would have       11      Q. When did you first hear that
  12    unrealistic goals and expectations.         12   term?
  13    So --                                       13      A. Watchful waiting?
  14        Q. I see. Okay.                         14      Q. Yes.
  15          So you agree with the                 15      A. I think it was probably 2014,
  16    proposition so long as the physician who    16   most likely.
  17    is doing the consultation is being very     17      Q. Do you remember where you heard
  18    thorough to make sure that they             18   about it?
  19    understand what the expectations are?       19      A. I do not.
  20          MR. MCKAY: Object to the form.        20      Q. And after you heard that term,
  21        A. Correct. Rigor and                   21   what did you do to educate yourself about
  22    understanding the motivations of the        22   what watchful waiting is?
  23    cosmetic patients are paramount.            23      A. I sought to understand if it was

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   1        Q. And I guess the same would be         1   just a passive process or if there was
   2    true for number three. You would want to     2   active intervention that was part of
   3    make sure that the practitioner is being     3   watchful waiting.
   4    thorough to make sure that they can          4       Q. And how did you go about
   5    confirm that the patient has sufficient      5   determining that?
   6    emotional maturity?                          6       A. Well, in reading the literature
   7        A. Yes.                                  7   related to gender identity disorder, one
   8        Q. Skipping down to page 69. And I       8   of the things that stood out to me was
   9    have it highlighted here in the first        9   that the historic demographic was
  10    column, the end of the last -- the first    10   preadolescent prepubertal children
  11    paragraph. Although the adolescent          11   expressing cross-sex self-identification,
  12    patient is not legally empowered to give    12   over 80 percent of them being boy, and
  13    informed consent, empirical -- empiric      13   that the natural history of that
  14    studies suggest that by the age of 14       14   condition demonstrates resolution of
  15    years the adolescent is cognitively         15   cross-sex self-identification by the time
  16    similar to her adult counterpart in         16   puberty is underway; and that if followed
  17    making rational health-related decisions.   17   into young adulthood, over 90 percent
  18           Did I read that correctly?           18   resolution.
  19        A. You read that correctly.             19         And the term "watchful waiting"
  20        Q. I think that's sufficient so         20   was used, but as I examined that term, I
  21    that I don't make you read the entire       21   came to understand that watchful waiting
  22    article as we go through. And we can        22   includes cognitive behavioral processes;
  23    move on.                                    23   very importantly, family therapy for the


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   1    children; and the practitioner trying to     1   articles that I may have read. I know an
   2    gain an understanding of the family          2   article by a Dr. Zucker out of -- I think
   3    dynamics that might have caused the          3   it's Toronto or McGill. I don't remember
   4    gender discordance in the child. Play        4   where Dr. Zucker is. Was very helpful in
   5    therapy depending on the age of the          5   understanding the processes of
   6    patient. Watchful waiting is a               6   resolution. But beyond Dr. Zucker, I
   7    therapeutic process that aims at the         7   can't recall particular articles or
   8    resolution of the gender discordance.        8   particular textbooks or particular
   9       Q. And your understanding is that         9   conversations that I had with
  10    the goal at the end is that the patient     10   psychologist or psychiatrists. But --
  11    no longer experiences this discordance      11       Q. Have you talked to any health
  12    with their gender identity and their        12   care providers that are following this
  13    cross-sex?                                  13   model of watchful waiting?
  14       A. I think the overarching goal is       14       A. I'm sure I have. I don't
  15    the happiness of the child and that the     15   remember them by name. I cannot remember
  16    least invasive approach to that that can    16   a particular conversation with a
  17    achieve that is the preferred approach.     17   particular clinician.
  18    And it's based in the understanding that    18       Q. Okay. And you mentioned the
  19    as opposed to the adult presentation of     19   article by Dr. Zucker that you read. You
  20    gender discordance, in the child, the       20   don't remember any other articles at this
  21    child most often expresses gender           21   time that you read about watchful
  22    discordance on the basis of a               22   waiting?
  23    misinterpretation of something in their     23       A. I'm sure that reading

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   1    family dynamic, some misunderstanding.       1   Dr. Zucker's article and particular --
   2          And so helping the child               2   reading of the citations in support of
   3    understand that dynamic better,              3   that article, I must have read other
   4    particularly as their understanding grows    4   papers that he cited in that paper -- he
   5    while their body evidences their sex --      5   and his colleagues have cited in that
   6    secondary sex characteristics -- this is     6   paper, but I can't cite them for you now.
   7    my understanding of where the resolution     7      Q. And do you know if Dr. Zucker's
   8    of the gender discordance happens. The       8   study was focused on prepubescent
   9    combination of two things: An                9   children or adolescents?
  10    understanding of the subjective process     10      A. That particular study was, I
  11    and then a recognition of their --          11   think, based in the historic demographic
  12    physical evidence of their sex.             12   that favored prepubertal children, the
  13        Q. And I appreciate that                13   majority of which were boys.
  14    description. I think that was very          14      Q. Have you been to any conferences
  15    helpful. One thing I do want to             15   or seminars where they have talked about
  16    understand, though, is how you went about   16   watchful waiting?
  17    educating yourself about it. In other       17      A. No.
  18    words, what studies did you read? Did       18      Q. Have you, yourself, performed
  19    you talk to anybody? How did you learn      19   any studies?
  20    about watchful waiting?                     20      A. No.
  21          MR. MCKAY: Object to form.            21      Q. Do you know if there is a
  22        A. I don't remember particular          22   difference in the treatment protocol for
  23    volumes I may have read or particular       23   gender dysphoria in prepubescent children


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   1    versus adolescents?                          1   children and adolescents until they reach
   2        A. My understanding is that the          2   adulthood?
   3    later presentation in adolescents is more    3      A. I don't have sufficient
   4    likely to be -- it's 30 percent likely to    4   expertise to answer your question, I
   5    be associated with an underlying             5   don't think.
   6    diagnosis of autism spectrum disorder; a     6      Q. Okay. Is it your understanding
   7    40 percent likelihood of a diagnosable       7   that under the watchful waiting model as
   8    major depression, evidence of self-harm      8   you described it there are some
   9    associated with that. So it's a -- it's      9   individuals who are going to be
  10    a much more complex issue, and the          10   persistent in gender dysphoria through
  11    presentation is more likely to be           11   adolescence and into adulthood?
  12    associated with actual episodes of          12      A. That is a historic fact.
  13    trauma.                                     13      Q. And for those individuals who do
  14        Q. Under the watchful waiting model     14   persist into adulthood, is it your
  15    as you understand it, are there             15   position that then it would be
  16    recommendations for treatment of            16   appropriate for them to receive
  17    prepubescent children versus adolescents?   17   gender-affirming care?
  18           MR. MCKAY: Object to the form.       18         MR. MCKAY: Object to the form.
  19        A. Well, in the adolescents, the        19      A. That would not be my position.
  20    component of family therapy is likely       20      Q. What would be your position once
  21    going to be less important; although,       21   they reached adulthood?
  22    still germane. Because we still find        22      A. My position is that the
  23    evidence of processes in the family         23   underlying diagnosis is still not a

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   1    dynamic that would probably be important.    1   medical or surgical diagnosis. It's
   2    I'm sorry. Could you ask that question       2   still a psychiatric diagnosis.
   3    again?                                       3          The difficulty of care is
   4         Q. Yeah. What I'm trying to get at      4   certainly greater in someone who has
   5    is you've indicated the article you read     5   persisted into adulthood, and it would
   6    by Dr. Zucker focused on prepubescent        6   suggest a more profound interior wounding
   7    children. So I'm trying to understand if     7   event in the life of that person.
   8    you have an understanding that under the     8          But it would still be my opinion
   9    watchful waiting model, as you described     9   that hormonal manipulation with all of
  10    it, if there is a different way that you    10   its intended harms and certainly surgical
  11    would treat prepubescent children with      11   interventions with their known harms
  12    gender dysphoria versus adolescents?        12   would preclude me from offering that as
  13         A. Well, my expectation is that it     13   an option.
  14    would be different, but I think there's     14       Q. Okay. So your position is that
  15    presently a poverty of literature because   15   gender-affirming care is never
  16    of the tremendous pressure to affirm.       16   appropriate for either minors or adults?
  17    So I -- I would expect that there would     17          MR. MCKAY: Object to the form.
  18    be a difference in therapeutic approach     18       A. I think the main difference
  19    to someone presenting in adulthood than     19   between general-affirming care for minors
  20    there is somebody presenting as a child.    20   versus adults is the insurmountable issue
  21         Q. Let me ask it to you this way:      21   of consent.
  22    Is it your position that watchful waiting   22       Q. But my question is different
  23    is appropriate for both prepubescent        23   than that one. My question is whether


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   1    it's your position that gender-affirming     1   underlying psychological processes.
   2    care is appropriate once that patient        2       Q. Do you think Alabama should
   3    reaches the age of adulthood?                3   impose laws banning or restricting access
   4        A. I consider gender-affirming care      4   to gender-affirming care for adults?
   5    in adults to be unsupported by scientific    5       A. No.
   6    literature.                                  6       Q. Why not?
   7        Q. Okay. I think what I'm                7       A. Because there's a level of
   8    understanding you to say -- and you          8   autonomy that one should expect. I think
   9    clarify me if I'm wrong. I think what        9   that issue is better examined in terms of
  10    I'm hearing you say is that it's your       10   outcomes, and let the outcome evidence
  11    position and your opinion that it is        11   speak for itself, I think.
  12    never appropriate to provide                12       Q. Doctor, I want to circle back to
  13    gender-affirming care whether the           13   one more thing we talked about earlier.
  14    individual is a minor or whether the        14   You mentioned to me some of the other
  15    individual is an adult. Is that correct?    15   states where you have offered your expert
  16           MR. MCKAY: Object to the form.       16   services with respect to laws that are
  17        A. The present model of care that       17   similar to the one here in Alabama. Do
  18    uses high dose raw sex hormones and         18   you remember that conversation?
  19    surgical, what I would consider, genital    19       A. Yes.
  20    mutilation is not -- those harms are not    20       Q. And I think you told me about
  21    outweighed by a demonstrated benefit, and   21   four states that you have testified in,
  22    therefore, I would consider them            22   correct?
  23    unethical.                                  23       A. Yes.

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   1       Q. So even for adults, you would          1       Q. What were your motivations for
   2    consider providing gender-affirming care     2   providing expert opinions in those cases?
   3    unethical professional conduct?              3         MR. MCKAY: Object to the form.
   4          MR. MCKAY: Object to the form.         4       A. I think my professional
   5       A. Until such surgeries can be            5   motivation is to protect people from
   6    demonstrated in valid high quality           6   harm.
   7    evidence, then I would consider it           7       Q. Can you explain a little bit
   8    unethical if only on the basis of lack of    8   more what you mean by that?
   9    consent.                                     9       A. My knowledge of plastic and
  10       Q. Even for adults?                      10   reconstructive surgery, my lifetime of
  11       A. Yes.                                  11   treating wounded people, my understanding
  12       Q. So what alternative would you         12   of the suffering that people endure based
  13    offer to adults suffering from gender       13   on different circumstances, my
  14    dysphoria to gender-affirming care?         14   understanding of people's motivations for
  15       A. Well, certainly persons who           15   aesthetic surgery led me to essentially
  16    experience gender discordance or gender     16   begin speaking out against this. In the
  17    dysphoria have a lot of options open to     17   course of speaking out against it, I was
  18    them. But as far as what I would offer      18   invited into this more public issue of
  19    them --                                     19   public law.
  20       Q. What would you recommend?             20       Q. Where have you spoken out
  21       A. My recommendation is psychiatric      21   against it?
  22    support, psychological support, other       22       A. Conferences over the years.
  23    therapeutic approaches to managing the      23       Q. Which conferences in particular?


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   1        A. Primarily church, educational         1   already talked about?
   2    bodies, school administrators, teachers,     2       A. To my recollection, that's it.
   3    counselors, pastors. I've also spoken --     3       Q. And you mentioned that in your
   4    I gave two presentations to Alliance         4   report, it sounds like around 2014, you
   5    Defending Freedom. I've given                5   developed this interest in health care of
   6    presentations to private schools,            6   transgender individuals, and we've spoken
   7    presentations to high school students in     7   a little bit about that. But I'm
   8    those private schools.                       8   interested in what sparked that in 2014.
   9        Q. How did you learn about the           9          MR. MCKAY: Object to the form.
  10    Alliance Defending Freedom?                 10       A. What sparked that was -- it was
  11        A. I don't remember how I received      11   actually a request. There was a request
  12    the invitation. I was invited down to       12   from a catholic priest who wanted me to
  13    give a presentation on my understanding     13   put together a presentation that could
  14    of gender affirmation surgery.              14   be -- that would be helpful in educating
  15        Q. What's your understanding of         15   people who were in pastoral situations on
  16    what Alliance Defending Freedom is?         16   the scientific medical realities of
  17          MR. MCKAY: Object to form.            17   transgender, gender affirmation, gender
  18        A. My understanding is that the         18   discordance, all of it.
  19    Alliance Defending Freedom is a Christian   19       Q. And why did this priest reach
  20    legal advocacy organization.                20   out to you to prepare that, if you know?
  21        Q. Okay. Any other places that          21          MR. MCKAY: Object to the form.
  22    you've given a speech that you were         22       A. It happened because I was
  23    telling me about?                           23   involved in a public conversation. It

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   1          MR. MCKAY: Object to the form.         1   was a part of what's called the Courage,
   2       A. I've given presentations on --         2   Courage apostolate, which is the catholic
   3    well, a version of it on -- for              3   apostolate. And there was a seminar, a
   4    publication on websites. Video recorded      4   conversation, a working group of priests
   5    presentations.                               5   and pastors in general. And that
   6       Q. Do you know what websites that's       6   conversation became rather wily and
   7    available on?                                7   heated, and it evidenced a lot of
   8       A. One of them is on the Person and       8   misunderstanding of the condition of
   9    Identity Project. EWTN television            9   gender discordance. And the priest
  10    network.                                    10   thought that I might be able to present
  11       Q. What is that network?                 11   more fully on the medical issues -- the
  12       A. I'm sorry?                            12   historical medical issues that pertain to
  13       Q. What is that network? I don't         13   gender identity disorder, gender
  14    think I'm familiar with it.                 14   discordance, transgender, all of that.
  15       A. EWTN is in Birmingham, Alabama.       15      Q. Gotcha.
  16       Q. Okay. Is it just a local              16          MRS. VAGUE: Okay. I think
  17    station, or what is it?                     17   we've been going about another hour. So
  18       A. EWTN stands for Eternal Word          18   why don't we take another break, if
  19    Television Network. It's a global           19   that's good with y'all.
  20    catholic network.                           20          MR. MCKAY: Yeah. Do you think
  21       Q. Okay. Gotcha.                         21   we're going to need to break for lunch at
  22          Anywhere else that you've given       22   some point? How much longer do you think
  23    this presentation other than what we've     23   you have?


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   1           MRS. VAGUE: Let me look at my         1       A. I would guess I probably started
   2    notes, and let's come back and chat after    2   on it about a month before.
   3    my -- after the break, if that's okay.       3       Q. Okay. And you mentioned that
   4           MR. MCKAY: Perfect.                   4   there were aspects of it that date back
   5    Five-minute break?                           5   several years. What do you mean by that?
   6           MRS. VAGUE: Yeah. That's good.        6       A. Discussions of particular
   7           THE COURT REPORTER: We're off         7   aspects of my opinion, there are elements
   8    the record.                                  8   in there that I've been thinking about
   9           (Whereupon a brief recess was         9   and writing about for years now that I
  10    taken from 11:30 a.m. to 11:42 a.m.)        10   ultimately condensed into the document
  11        Q. Doctor, we're back on the            11   that you have.
  12    record, and I wanted to talk to you now     12       Q. Understood.
  13    about your expert report that you           13         And did you pull any sections or
  14    prepared in this case. And you told me      14   portions from prior reports that you
  15    you've got a copy there with you in the     15   prepared in those other cases we
  16    room.                                       16   discussed?
  17        A. That's right.                        17       A. Probably.
  18        Q. When did you prepare this            18         MRS. VAGUE: And just so we have
  19    document?                                   19   a clear record, I'll mark this as Exhibit
  20        A. Let's see what the date is on        20   1. And I'll send you a copy, send a copy
  21    that. The date on it is -- is that where    21   to the court reporter and to y'all as
  22    it is?                                      22   well afterwards. But just so we have a
  23           Okay. I'm sorry. It's May 18th       23   copy for the record.

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   1    of 2023.                                     1         (Whereupon, Plaintiff's
   2        Q. Okay. That's your signature           2         Exhibit 1 was retained by
   3    there on that page?                          3         counsel to be marked for
   4        A. I believe that's when we              4         identification.)
   5    completed the preparation of the             5      Q. And this opinion, Doctor, I
   6    document.                                    6   assume you approved it before it got
   7        Q. Okay. And that's your signature       7   served in this case, correct?
   8    there on that page?                          8      A. Correct.
   9        A. Yes.                                  9      Q. And it contains all of the
  10        Q. When you say we completed            10   opinions you intend to offer in this
  11    preparation of the document, who are you    11   case, correct?
  12    referring to?                               12      A. Correct.
  13        A. Me.                                  13      Q. I don't want to go through every
  14        Q. Do you remember about how long       14   paragraph. I won't make us spend time
  15    you worked on this report?                  15   doing that, but there are a few
  16        A. There are elements of it that        16   paragraphs that I wanted to go through in
  17    reach back a couple of years, but the       17   here.
  18    document itself from start to finish -- I   18         The first paragraph I want to
  19    would have to look in my files to see       19   look at is paragraph 23, which is on page
  20    when I started and when I stopped.          20   9.
  21        Q. Okay. Do you have sort of a          21      A. Paragraph 23?
  22    guess of when you would have started on     22      Q. Yes.
  23    it?                                         23      A. Okay.


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   1         Q. And I'm going to read you this       1   dysphoria, they are the ones who identify
   2    first sentence. It says, Since 2014, I       2   themselves as being the opposite gender,
   3    have made a concerted effort to examine      3   the gender opposite to their natal sex.
   4    the medical literature pertaining to the     4         So there's no diagnostic process
   5    care of self-identified transgender          5   on the part of the social worker, the
   6    persons, including children and adults.      6   psychologist, the psychiatrist, the
   7    What do you mean by the term                 7   endocrinologist, the pediatrician, or the
   8    "self-identified transgender persons"?       8   surgeon. It's the patient who presents
   9         A. It's a statement about the           9   as gender dysphoric or transgender.
  10    reality of the diagnostic process           10       Q. Okay. Is it your position that
  11    involved in what -- the diagnosis that is   11   gender dysphoria is a real diagnosis?
  12    now gender dysphoria or transgender.        12       A. No -- well, let me qualify that,
  13         Q. Okay. Help me understand that a     13   if I might. It is a real diagnosis in
  14    little bit more. Are you saying that        14   the sense that the patient is dysphoric,
  15    these people -- are you drawing a           15   unhappy about things relating to their
  16    distinction between a self-identified       16   gender presentation. That is a reality
  17    transgender person and a person with        17   people suffer with. I don't doubt that
  18    gender dysphoria?                           18   in the least having had considerable
  19         A. No.                                 19   contact with people who suffer with this.
  20         Q. Okay. So your position then         20   But as far as a medical or a surgical
  21    would be that a person who has been         21   diagnosis, there's no such thing in this
  22    diagnosed by a health care provider with    22   treatment model.
  23    gender dysphoria -- you would describe      23       Q. Okay. So you would agree that

                                      Page 122                                        Page 124
   1    that person as a self-identified             1   transgender individuals can suffer from a
   2    transgender person?                          2   distress that you would qualify as
   3       A. The distinction I'm making is          3   dysphoria, but your position is that
   4    that there's no professional anywhere        4   medical professionals don't make that
   5    along the chain of care who actually         5   diagnosis?
   6    makes the diagnosis. It's the patient        6         MR. MCKAY: Object to the form.
   7    who makes the diagnosis.                     7      A. I would state it this way: That
   8       Q. How does patient go about making       8   medical professionals recognize the
   9    the diagnosis?                               9   suffering of the patient. They recognize
  10       A. Well, it's -- there's a number        10   the patient is suffering and that the
  11    of different ways that it seems to be       11   patient ascribes their suffering to their
  12    happening depending on the age at which     12   gender presentation. So it's a
  13    the patient presents.                       13   recognizable suffering that the
  14          So, you know, a child with            14   professional can recognize, but it's not
  15    cross-sex self-identification who is        15   a medical diagnosis, and it's not a
  16    considered insistent, consistent, and       16   surgical diagnosis.
  17    persistent about their cross-sex            17      Q. How would that presentation be
  18    self-identification, this constitutes the   18   different than other mental health
  19    entirety of the diagnostic process that     19   disorders?
  20    brings children into gender affirmation     20      A. Well, it has -- it shares a very
  21    clinics.                                    21   common feature that -- those mental
  22          Likewise, when adults present         22   health disorders, whatever they may be --
  23    with gender -- what's called gender         23   to my knowledge, there isn't a single


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   1    mental health disorder that presents         1          Did I read that correctly?
   2    medical hormonal manipulation -- body        2       A. Yes.
   3    modification, I should say, as a remedy.     3       Q. And we talked earlier about
   4       Q. And my question is different.          4   those individuals that you spoke with,
   5    I'm talking about the diagnosis of it.       5   right?
   6    How is that presentation different than      6          MR. MCKAY: Object to the form.
   7    other mental health disorders?               7       A. Yes.
   8          MR. MCKAY: Object to the form.         8       Q. So it sounds like based on this
   9       Q. And where the patient is               9   paragraph that you educated yourself on
  10    reporting their subjective beliefs and      10   the care of transgender persons in two
  11    feelings to the health care provider?       11   ways. One, reviewing the medical
  12          MR. MCKAY: Object to the form.        12   literature, and two, talking to health
  13       A. I don't know that I understand        13   care providers and PhDs; is that right?
  14    your question. I'm proposing that           14          MR. MCKAY: Object to the form.
  15    they're similar. I'm not sure how I         15       A. Yes.
  16    could present differences. How is it        16       Q. Anything else that you did to
  17    different?                                  17   educate yourself on the health care
  18       Q. Well, I'm just trying to              18   treatment of transgender individuals?
  19    understand the distinction that you're      19       A. Well, we've talked already about
  20    making about a diagnosis for gender         20   the conference of the California Society
  21    dysphoria -- and maybe you're not drawing   21   of Plastic Surgery.
  22    one. Maybe I'm misunderstanding you.        22       Q. Correct. Yeah. Anything other
  23    But is it your position that other mental   23   than that conference?

                                     Page 126                                         Page 128
   1    health disorders can be diagnosed by a       1       A. Well, the -- certainly, in this
   2    health care professional?                    2   case, it's the review of the literature
   3        A. Oh, yes. It's incumbent upon          3   that is offered in support of gender
   4    mental health professionals to diagnose      4   affirmation care and presented by the
   5    psychological disturbances like that.        5   professionals offering their opinion in
   6    It's incumbent upon all medical              6   support of this case. So -- which is a
   7    professionals.                               7   review of, I guess, the best literature
   8        Q. So what's the distinction             8   available in support of gender
   9    between those diagnoses and the diagnosis    9   affirmation care.
  10    of gender dysphoria?                        10       Q. Have you undergone any formal
  11        A. In the case of gender dysphoria,     11   training regarding the treatment of
  12    there's no criterion of confirmation or     12   gender dysphoria?
  13    reputation of the diagnosis.                13       A. No.
  14        Q. Okay. I want to look back at         14       Q. And I know you cite a number of
  15    paragraph 23, the second sentence there.    15   articles in your expert report. Are
  16    I'm going to pick up there. I had an        16   there additional articles or literature
  17    eight-year long running discussion on       17   that you've reviewed beyond what's cited
  18    these issues with family practitioners,     18   in your report that you plan to rely upon
  19    pediatricians, pediatric and adult          19   in this case?
  20    psychologists and psychiatrists,            20       A. There are other recent
  21    pediatric endocrinologists, as well as      21   publications in the World Literature that
  22    PhDs who specialize in the evaluation of    22   have come to my attention in the last
  23    the validity of scientific publications.    23   several weeks and months, particularly


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   1    from Finland and France now; other           1   years. He's a -- he's a medical
   2    documents from the World Literature that     2   evidence -- he has a PhD in medical
   3    I may refer to, but I can't refer to         3   evidence, and he's at the University of
   4    right now off the top of my head. These      4   California, San Francisco. His name is
   5    are papers that have come to my attention    5   on the tip of my tongue, but I cannot
   6    that I've begun reviewing.                   6   remember.
   7       Q. Anything else you can think of         7      Q. Well, if it comes to you, you
   8    that you might rely upon?                    8   can tell me. Okay?
   9       A. Not that comes to mind right           9      A. Okay.
  10    now.                                        10      Q. Anyone else that you can recall
  11       Q. And the health care providers         11   speaking to about these issues?
  12    and PhDs that you reference here in         12      A. Well, I remember speaking to a
  13    paragraph 23, where would you speak to      13   general surgeon, now a plastic surgeon in
  14    these kind of individuals?                  14   San Francisco when I was with the
  15       A. E-mails, perhaps the -- you           15   California Society of Plastic Surgery.
  16    know, e-mails or sometimes text messages,   16   He and I were in general surgery
  17    things like that, I suppose.                17   residency at the same time in San
  18       Q. I'm curious how you got               18   Francisco. And I remember having a long
  19    connected with these individuals. Are       19   conversation with him at that conference
  20    they people that are in your medical        20   in San Francisco where we discussed the
  21    community in Decatur, or are they people    21   confidence one can have in medical
  22    that you've met at conferences? How do      22   evidence, for example, you know.
  23    you know these people?                      23      Q. Did y'all speak about

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   1          MR. MCKAY: Object to form.             1   gender-affirming care?
   2        A. Well, for example, Dr. Hruz, a        2       A. Yes.
   3    pediatric endocrinologist. I don't           3       Q. Does he provide gender-affirming
   4    remember where I met him, but he's become    4   care?
   5    a very helpful colleague.                    5       A. He does.
   6          Dr. Quentin Vanmeter, I actually       6       Q. And what did he tell you about
   7    met him when I was an intern back in         7   his position or view on gender-affirming
   8    1983, and it turns out that he's working     8   care?
   9    in this same area now as a pediatric         9         MR. MCKAY: Object to form.
  10    endocrinologist.                            10       A. Well, he's a strong advocate of
  11          Who else? Pediatrician -- a           11   it. He was one of the presenters at that
  12    family practitioner, Dr. Andre Van Mol,     12   California Society meeting. And we just
  13    for example. I don't remember where I       13   had a free ranging conversation about our
  14    met him, but he -- he keeps a list of       14   experience with medical evidence.
  15    publications relating to gender             15       Q. Anyone else you can recall
  16    affirmation care and reviews those          16   speaking to about these issues? I'm
  17    publications. He's been a very helpful      17   talking specifically about the health
  18    resource. Uh-huh.                           18   care providers and PhDs you reference in
  19        Q. Anyone else that you remember        19   paragraph 23.
  20    speaking to about these issues?             20       A. Nothing comes to mind right now.
  21        A. There have been others. I can't      21       Q. Okay. Dr. Hruz that you
  22    remember one of their names because I       22   referenced, where did you meet him?
  23    haven't spoken to them in a number of       23       A. I met Dr. Hruz in Phoenix,


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   1    Arizona. He was -- I was a presenter,        1   all people you met at the ADF conference?
   2    and he was a presenter at the -- at a        2          MR. MCKAY: Object to the form.
   3    conference convened by the Alliance          3       A. No. There are others that I --
   4    Defending Freedom.                           4   whose names I can't remember.
   5       Q. What about Quinten Vanmeter?           5   Conversations that might have been in a
   6    Where did you meet him?                      6   surgeons' lounge or in a physicians'
   7       A. I met Quinten Vanmeter when I          7   lounge in a hospital. You know, other
   8    was a newly minted doctor, and he was my     8   physicians that I meet that I might have
   9    intern advisor at the Naval Hospital         9   this discussion with probing their
  10    Oakland. And I hadn't seen him in 35        10   experience to understand the condition
  11    years, and there he was in Phoenix          11   better. It's just an ongoing interest
  12    presenting on pediatric endocrinology.      12   that I've had and that I keep me eyes and
  13       Q. That is the same ADF conference?      13   ears open for. So the people we have
  14       A. Yes, ma'am.                           14   discussed is not a comprehensive list.
  15       Q. And then the other individual         15       Q. Understood.
  16    you named -- I think his name was Andre     16          And those other individuals that
  17    Van Mol?                                    17   you've had these passing conversations
  18       A. That's right.                         18   with, you can't remember any of those
  19       Q. And where did you meet him?           19   names?
  20       A. The same meeting.                     20          MR. MCKAY: Object to the form.
  21       Q. And the PhD from California, did      21       A. Not just now. I can't remember
  22    you meet him at the same meeting too?       22   them.
  23       A. Yes. And as it happens, I just        23       Q. These individuals that we went

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   1    remembered his name.                         1   through that you met at the ADF
   2        Q. Oh, okay. I thought it might          2   conference, do any of those treat
   3    come to you. What is it?                     3   patients for gender dysphoria?
   4        A. His name is Hacsi, H-A-S-C-I          4      A. Not to my knowledge.
   5    (sic), last name Horvath, H-O-R-V-A-T-H.     5      Q. Okay. I want to flip over now
   6        Q. And then you mentioned to me the      6   and look at paragraph 28 on page 12.
   7    plastic surgeon in California that you       7          Are you ready?
   8    spoke to at the conference that you went     8      A. Yes.
   9    to in California. Anyone else other than     9      Q. Okay. I'm going to start with
  10    this list that we've run through that you   10   that first sentence, and I'm going to
  11    remember talking to as it relates to        11   read that first line there. If the
  12    paragraph 23?                               12   complete and successful transition of the
  13        A. None that comes to mind.             13   minor is the goal -- who are you
  14        Q. Okay. So if I'm understanding        14   referring to there? Whose goal are you
  15    you correctly, when you say in here that    15   referring to?
  16    you have an eight-year long running         16      A. The goal of gender affirmation
  17    discussion on these issues with family      17   care.
  18    practitioners, pediatricians, pediatric     18      Q. Okay. So your understanding is
  19    and adult psychologists and                 19   that the goal of gender-affirming care
  20    psychiatrists, pediatric                    20   and the people who provide it is to
  21    endocrinologists, as well as PhDs, other    21   complete -- is to provide a complete and
  22    than the plastic surgery -- surgeon in      22   successful transitioning of minors?
  23    California, these other individuals are     23      A. No. I say that, if -- if the


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   1    complete and successful transition of the    1   correct?
   2    minor is the goal.                           2         MR. MCKAY: Object to the form.
   3        Q. Okay. So you don't know if            3      A. Those numbers have not been
   4    that's their goal or not?                    4   published anywhere.
   5        A. I assume that the goal is the         5      Q. And you've done nothing to try
   6    happiness of the patient. And if the         6   and determine those numbers; is that
   7    happiness of the patient requires further    7   correct?
   8    intervention in the mind of the              8         MR. MCKAY: Object to form.
   9    clinician -- I don't think that the goal     9      A. I rely on published information
  10    needs to be the transition. I think the     10   where patient privacy is involved. Those
  11    goal may become the transition if the       11   are issues that I -- that cannot be
  12    happiness of the patient is not yet         12   accessed unless it appears in a published
  13    satisfied.                                  13   report which has not been forthcoming in
  14        Q. Okay. So your understanding          14   the state of Alabama.
  15    then is under the gender affirmation        15      Q. All right. And when you say
  16    model, that it's still a case by case       16   that minor patients undergo or will in
  17    basis depending on the patient what type    17   the future undergo surgery, do you mean
  18    of care and ultimate transition is          18   when those patients are adults?
  19    appropriate for that patient?               19      A. Let me reread that sentence,
  20           MR. MCKAY: Object to the form        20   please.
  21        A. That's how it's presented in the     21      Q. Okay.
  22    gender affirmation health care model.       22      A. Right. Minor patients who go on
  23        Q. Okay. And I want to skip down a      23   and choose surgery in adulthood, I

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   1    little bit then, and I'll read it just so    1   suppose, is what I was speaking about
   2    we have completeness, and then I'll ask      2   there.
   3    you a question.                              3       Q. Okay. And as we talked about
   4           So it says, If the complete and       4   earlier, you agree that adults can
   5    successful transition of the minor is the    5   consent to plastic surgery procedures?
   6    goal and if the supporting documents         6          MR. MCKAY: Object to form.
   7    which plaintiffs proffer, such as the        7       A. I would say that consent in the
   8    WPATH standard of care, consider the         8   adult is a more meaningful thing in --
   9    surgical transition of minors to be          9   yeah.
  10    proven safe and effective, WPATH standard   10       Q. In other words, you don't -- and
  11    -- and must examine the issue of            11   I think you told me this earlier. You
  12    affirmation surgery given the fact that     12   don't think that Alabama, for example,
  13    so many minor patients undergo or will      13   should restrict or ban gender-affirming
  14    undergo or will in the future undergo       14   surgery for adults?
  15    surgery.                                    15          MR. MCKAY: Object to the form.
  16           Did I read that correctly?           16       A. The law that's at issue here
  17         A. Yes.                                17   pertains to minors. That's where I'm
  18         Q. And we talked about this            18   offering my opinion here.
  19    earlier. You say here, Given the fact       19       Q. That's correct. But my question
  20    that so many minor patients undergo or      20   is -- and I think we already talked about
  21    will in the future undergo surgery, you     21   this -- you don't think that Alabama
  22    don't know how many minors have undergone   22   should impose a law that would restrict
  23    surgery in Alabama or nationwide,           23   or ban surgeries for adults -- gender


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   1    affirming surgeries for adults?              1       A. My reading of the document is
   2           MR. MCKAY: Object to the form.        2   that there's nothing in the standards of
   3        A. My feeling on that is that the        3   care version 8 that excludes such
   4    professional bodies have a role to play      4   surgeries in minors, and there are
   5    in this rather than the public law,          5   examples in the document that speak of
   6    particularly areas of consent like this      6   such surgeries in minors.
   7    and levels of evidence and the               7       Q. Okay. I want to skip over to
   8    liabilities that are experienced by          8   paragraph 45 on page 22.
   9    persons who are offering these               9       A. Okay.
  10    treatments. I think that's where this is    10       Q. Okay. About halfway down that
  11    going to be decided in the case of          11   paragraph, it starts, The most essential
  12    adults.                                     12   criteria. Do you see that?
  13        Q. And right now, are you aware of      13       A. I do.
  14    any law in Alabama that would preclude an   14       Q. The most essential criteria in
  15    adult from seeking gender-affirming         15   selecting patients for cosmetic surgery
  16    surgeries?                                  16   is that it be offered only if the
  17        A. I am not aware of such a law.        17   physical change is reasonable, does not
  18        Q. If I skip down a little bit          18   involve harm or loss of function, and is
  19    further in that paragraph, starting with,   19   likely to result in subjective
  20    The fact that general surgery -- do you     20   improvement.
  21    see that?                                   21          Did I read that correctly?
  22        A. Yes.                                 22       A. You did.
  23        Q. The fact that general surgery is     23       Q. Let's break that down a little

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   1    routinely performed on minors is             1   bit. What is a reasonable physical
   2    evidenced by the fact that the WPATH         2   change?
   3    standards of care are described as part      3        A. A physical change within the
   4    of the affirmation surgery guidance.         4   spectrum of a human variation, I suppose,
   5           Did I read that correctly?            5   or something that is accessible to the
   6         A. Yes.                                 6   surgical technique itself.
   7         Q. When you say "routinely              7        Q. So can you help me understand
   8    performed," how often is it performed?       8   that first part a little bit more? You
   9         A. I don't have a number.               9   said -- can you just maybe rephrase your
  10         Q. Fair to say you don't know if       10   answer and help me understand that a
  11    it's routine or not?                        11   little?
  12           MR. MCKAY: Object to the form.       12          MR. MCKAY: Object to the form.
  13         A. I'm saying it's routine enough      13        A. Okay. So in speaking about
  14    to have been included in the WPATH          14   cosmetic surgery -- again, we're speaking
  15    standards of care.                          15   about aesthetic surgery. So a surgery
  16         Q. So you were just guessing based     16   that begins and is aimed at the
  17    on your reading of the WPATH standards of   17   subjective life of the patient. If the
  18    care?                                       18   patient is seeking a physical
  19           MR. MCKAY: Object to the form.       19   modification that is mutilating or
  20         A. Yes.                                20   unreasonable somehow, that would not be a
  21         Q. Is it your understanding that       21   reasonable thing to do. If such surgery
  22    WPATH standards of care 8 recommend         22   that the patient asks for involves a harm
  23    surgery for minors with gender dysphoria?   23   to the patient or a loss, then that would


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   1    be unacceptable in a case of an aesthetic    1       Q. Who makes the decision of what
   2    or a cosmetic operation.                     2   a reasonable physical change is?
   3        Q. Okay. And I want to focus just        3         MR. MCKAY: Object to the form.
   4    on that first part, the reasonable           4       A. Ultimately, it's the
   5    physical change. And you indicated, for      5   responsibility of the physician surgeon.
   6    example, that if the procedure is            6       Q. Does the patient get a say in
   7    mutilating in some way, then that            7   what is reasonable for them?
   8    wouldn't be reasonable. What would be an     8       A. Certainly.
   9    example of mutilation?                       9       Q. All right. Next, you mentioned
  10        A. If, for example, the patient         10   that cosmetic surgery is appropriate if
  11    wanted to -- I don't know -- change the     11   it does not involve harm or loss of
  12    appearance of his nose to make it look      12   function. And I know you've touched on
  13    like the nose of a dog or something like    13   that briefly, but what do you mean by
  14    that, that would be outside the range of    14   "harm"?
  15    the human face and would very likely        15       A. Well, all surgery involves some
  16    compromise the function of the nose. But    16   level of harm because we make incisions.
  17    it's beginning in the subjective -- the     17   We make penetrations into the body and
  18    subjective life of the patient and          18   things like that. And those harms, if
  19    resulting in a disfigurement that results   19   the surgery is conducted properly, are
  20    in a functional loss.                       20   comparatively trivial assuming that you
  21        Q. Would you consider                   21   can conceal the scars or the scars will
  22    gender-affirming surgeries to be            22   become acceptable or otherwise invisible
  23    mutilating?                                 23   to casual observers.

                                      Page 146                                        Page 148
   1       A. Depending on which operation we        1          By harm, I mean loss of a human
   2    are talking about, yes.                      2   faculty, for example. A loss of the
   3       Q. Which operations would you             3   capacity to breathe through the nose,
   4    consider mutilating?                         4   loss of vision, loss of the ability to
   5       A. Chest masculinization involves         5   taste, loss of the ability to breastfeed,
   6    the removal of the native breast and the     6   loss of erotic provokability from the
   7    loss of a human function.                    7   nipple caused by breast surgery, loss of
   8          Inversion vaginoplasty involves        8   your reproductive faculties.
   9    the destruction of the genitalia, the        9       Q. And is that sort of a sliding
  10    loss of a human function.                   10   scale? You know, there are some
  11          The metoidioplasty less so            11   procedures that there will be maybe a
  12    because that can be recovered, but the      12   slight loss in function, but it's still
  13    free-flap phalloplasty would be a           13   appropriate to proceed as the patient
  14    mutilation.                                 14   thinks that's reasonable for them?
  15       Q. Any others that you consider          15          MR. MCKAY: Object to the form.
  16    mutilating?                                 16       A. Generally, in the field of
  17       A. Well, all of the vaginoplasty         17   aesthetic surgery, any loss of function
  18    operations like colporrhaphy position       18   is considered a bad outcome.
  19    because it's preceded by castration and     19       Q. You said there are risks of
  20    penectomy is a mutilating surgery.          20   decreased success rate for breastfeeding
  21    Proximal five vaginoplasty because it's     21   for women who have undergone breast
  22    preceded by castration and penectomy is a   22   augmentation?
  23    mutilating surgery.                         23       A. That's correct. That's not a


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   1    cosmetic -- oh, breast augmentation. I'm     1   would you consult with that mental health
   2    sorry. Yes. The loss of nipple               2   care professional to determine whether
   3    sensibility from breast augmentation is      3   this is an appropriate candidate for
   4    considered a bad outcome.                    4   cosmetic surgery?
   5        Q. But it's a risk of those types        5       A. If a patient is under the care
   6    of procedures, correct?                      6   of a psychiatrist, then that becomes a
   7        A. That's correct.                       7   very important part of the conversation.
   8        Q. As is a risk of decreased             8       Q. Then my question is just
   9    success rates for breastfeeding, correct?    9   slightly different. It's whether you --
  10        A. Correct.                             10   that patient who presents to you that is
  11        Q. Okay. Then the last kind of          11   under the care of a mental health
  12    aspect that you put here of what's          12   professional, do you consult with that
  13    appropriate for cosmetic surgery is if it   13   mental health care professional in
  14    is likely to result in subjective           14   determining whether -- whether that
  15    improvement. How do you as a surgeon        15   patient is an appropriate candidate for
  16    measure that?                               16   surgery?
  17        A. That's the most challenging part     17       A. If a patient presents to me
  18    of aesthetic cosmetic surgery. And          18   seeking aesthetic surgery and is under
  19    that's where -- that's the real heart of    19   the care of a psychiatrist, then
  20    the consultation. In addition to            20   depending on what they are asking to have
  21    assessing the patient's desires for the     21   done, if it's something minor, something
  22    outcome, what the actual measurable         22   comparatively trivial, then perhaps
  23    change is, like take away the hump from     23   consulting with their psychiatrist might

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   1    my nose or, you know, make my breasts        1   not be as important. But if they're --
   2    look younger or whatever it is, the          2   if they're seeking a surgery that is big
   3    likelihood of succeeding in that positive    3   and massively changing of them and they
   4    affect as compared to the possibility of     4   have an expectation of a life-changing
   5    harm, that's the heart of the aesthetic      5   result, then, yeah, that becomes a
   6    consultation.                                6   psychiatric referral or an extended
   7           So the harms -- the potential         7   conversation with the psychiatrist.
   8    for harms has to be very, very small, and    8       Q. You're not saying that any
   9    the likelihood of subjective improvement     9   patient that presents to you that is
  10    has to be high. And that's the most         10   under the care of a mental health care
  11    difficult part of the equation, and         11   professional is not an appropriate
  12    that's where experience is particularly     12   candidate for surgery, right?
  13    valuable.                                   13       A. Correct. I'm not saying that.
  14       Q. And in making that                    14       Q. In your experience and in your
  15    determination, do you take into account     15   opinion, is a case by case analysis based
  16    input from the patient's other health       16   on the patient?
  17    care providers, like mental health          17       A. There are some things that
  18    professionals?                              18   are -- yeah, case by case. Some of the
  19       A. If the patient presents with a        19   simpler procedures, certainly case by
  20    preventous mental health diagnosis, that    20   case. But a large surgery that involves
  21    becomes a very important part of the        21   a radical change to the person, it
  22    aesthetic consultation.                     22   becomes a much graver matter that --
  23       Q. As part of your determination,        23   where psychiatry becomes the most


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   1    important treatment.                         1          MR. MCKAY: Object to the form.
   2        Q. I'm going to ask you about an         2       A. I don't know the answer to that.
   3    article that you have cited in your          3       Q. In that same footnote, you
   4    report. It's on page 18, Footnote 17.        4   reference an article about Libby Emmons.
   5        A. Okay.                                 5   Who is Libby Emmons?
   6        Q. And it's written by Abigail           6       A. I think it may be another writer
   7    Shrier, Why Mercy Matters. Do you see        7   who, in that article, to the best of my
   8    that?                                        8   recollection -- I would have to look at
   9        A. I do.                                 9   the article again. This was her
  10        Q. Who is Abigail Shrier?               10   reporting on a conversation or an
  11        A. Abigail Shrier is a writer -- a      11   interview with Dr. Marci Bowers.
  12    freelance writer. My understanding is       12       Q. Is Libby Emmons a medical
  13    she writes for, among other outlets, The    13   doctor?
  14    Wallstreet Journal. She's published a       14       A. I don't think so.
  15    book on the issue of gender dysphoria in    15       Q. Do you know her educational
  16    young ladies, young women.                  16   background?
  17        Q. Is she a medical doctor?             17       A. I do not.
  18        A. No.                                  18       Q. Do you know what Post Millennial
  19        Q. Do you know what her educational     19   is -- postmillennial.com?
  20    background is?                              20       A. I don't.
  21        A. I don't have the details, no.        21       Q. Is that a publication that is
  22        Q. Do you know if she's performed       22   generally accepted in the medical
  23    any studies on gender affirmation care or   23   community as authoritative and reliable?

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   1    the treatment of transgender individuals?    1          MR. MCKAY: Object to the form.
   2         A. I only know that in her capacity     2       A. I don't know.
   3    as a writer, she has examined the issue      3       Q. Doctor, I know we talked about
   4    in depth and detail deeply enough to         4   the -- I'm switching gears on us a little
   5    consult with professionals who are in the    5   bit. You can put the report to the side
   6    business of offering these surgeries or      6   for a minute. I know we talked about the
   7    reviewing with professionals.                7   other cases -- the four other cases where
   8         Q. Do you know what studies that        8   you've offered your opinions as an expert
   9    she reviewed to draw her conclusions?        9   with respect to the laws that are similar
  10           MR. MCKAY: Object to the form.       10   to the one here in Alabama. Other than
  11         A. As I recall, her book that she      11   those depositions that we talked about in
  12    published some years ago is heavily         12   those cases, have you given any other
  13    footnoted and has a bibliography that       13   depositions before?
  14    includes her references and citations.      14       A. North Carolina, Arkansas, now
  15         Q. What is Substack?                   15   Alabama. I don't believe I was deposed
  16         A. I think that's an online            16   in the Florida case. So I think that's
  17    reference that she maintains. I think       17   all of it.
  18    it's a collection of references and         18       Q. Okay. And aside from those
  19    publications that she's offered in          19   cases, I'm talking about over the course
  20    support of her writing.                     20   of your career, have you ever acted as an
  21         Q. Is that publication generally       21   expert in, for example, a medical
  22    accepted in the medical community as        22   malpractice case?
  23    authoritative and reliable?                 23       A. No.


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   1        Q. Have you ever been a defendant        1   records.
   2    in a medical malpractice case?               2       Q. Okay. Have you been contacted
   3        A. Never.                                3   by anyone else for similar cases?
   4        Q. In those other cases involving        4       A. Not that I can recall, no.
   5    laws similar to the one here in Alabama,     5       Q. I saw your rate listed in your
   6    do you know whether your expert testimony    6   report. I think you have indicated that
   7    has ever been precluded or limited?          7   you're being paid $400 an hour. Does
   8        A. It's my understanding that in         8   that sound right?
   9    the North Carolina case, I was, I            9       A. Yes.
  10    guess -- I don't know what the legal term   10       Q. Is that still your rate today?
  11    is for it, but my testimony was not         11       A. Yes.
  12    brought into the case. In Florida, I        12       Q. Do you know how much you've
  13    believe that -- well, I actually            13   billed to date on this case?
  14    testified in that case, but it was a very   14       A. I don't. Off the top of my
  15    brief event. So --                          15   head, I don't know.
  16        Q. Are there any other states where     16       Q. Okay. Do you have an estimate?
  17    you -- we've talked about the four          17       A. I would be guessing at somewhere
  18    already. Are there others that you          18   between 3 and $4,000 for the preparation
  19    haven't given a deposition for or           19   of the written opinion. That's a guess.
  20    testified for, but you've been consulting   20       Q. And in preparing your opinions
  21    in those cases?                             21   in this case, I assume that you talked
  22        A. Yes. As I said earlier, there's      22   with the -- with the attorney general's
  23    a new case in Missouri now.                 23   office. But is there anyone else that

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   1        Q. Oh, Missouri. That's right.           1   you've spoken to that has helped you form
   2          Okay. Any others besides               2   your opinions in this case?
   3    Missouri?                                    3       A. No.
   4        A. Not relating to laws as we're         4       Q. Do you have an estimate of how
   5    discussing here, but in -- what's            5   much you've billed in all of the cases
   6    developing as private litigation for a       6   where you're acting as an expert witness
   7    harms medical malpractice.                   7   on issues similar to the law here in
   8        Q. Tell me more about that.              8   Alabama?
   9        A. I don't know a lot of details         9       A. It would be a wild guess, but --
  10    yet. I know just know that it's been        10   it would be a wild guess. I think in the
  11    discussed with me. I believe that's in      11   Arkansas case, it was somewhere around
  12    Minnesota. But I don't have a lot           12   $26,000 or something like that. In the
  13    details for you. That's sort of a           13   Florida case, less than that. Plus the
  14    forthcoming thing.                          14   time to appear in court and all of that.
  15        Q. Is it an individual patient who      15         MRS. VAGUE: Okay. I think if
  16    is considering medical malpractice type     16   we take just a quick five-minute break
  17    actions against the health care provider?   17   and let me check my notes, I think we
  18        A. That's correct.                      18   might be reaching the end here, if y'all
  19        Q. And have you just been               19   can just bear with me.
  20    approached by one individual about that?    20         THE WITNESS: Okay.
  21        A. A legal -- a legal -- a law          21         THE COURT REPORTER: We're off
  22    office has approached me about it and       22   the record.
  23    asked me to review confidential patient     23         (Whereupon a brief recess was


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   1    taken from 12:38 p.m. to 12:45 p.m.)         1       Q. We can take a little break if
   2        Q. Doctor, just a couple more            2   you think you would be able to find them
   3    questions, and then I'll let you get out     3   now.
   4    of here for today.                           4       A. Okay. I'll give it a shot. I
   5          You mentioned earlier when we          5   can't promise you I'll find them, but --
   6    were talking about your report that there    6         MR. MCKAY: We can disclose
   7    are some additional articles that you        7   those afterwards, but do we -- are you
   8    read out of Finland and France. Do you       8   going to look on your computer? Do you
   9    remember that discussion?                    9   have them in your office?
  10        A. Yes.                                 10         THE WITNESS: It would require a
  11        Q. Do you remember when those           11   search on the computer for those
  12    articles came out, when that literature     12   articles, yeah.
  13    was released?                               13         MR. MCKAY: And are these being
  14        A. I think in the last couple of        14   relied -- just to clarify for the record,
  15    months, a publication by the Finnish -- I   15   are you relying on them for the opinions
  16    believe she's a pediatrician or a           16   provided in your report?
  17    pediatric endocrinologist. Her name is      17         THE WITNESS: I am not.
  18    Riitakerttu Kaltiala from Finland. A        18       Q. And to further clarify, are you
  19    very public discussion of the experience    19   going to rely on those articles in your
  20    in Finland with puberty blocking and        20   testimony at trial?
  21    cross-sex hormones.                         21       A. No.
  22        Q. And did your review of that          22       Q. Okay. All right. Well, if
  23    article change your opinions in any way     23   you're not going to rely upon them, I

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   1    that you've given here today?                1   won't be surprised at trial. So that's
   2        A. No. It only further                   2   fair, and we don't have to spend time
   3    strengthened the position that it's a        3   searching for them. Save everyone some
   4    huge controversy in the medical              4   time. Thank you for that.
   5    literature that it's not -- that gender      5          Okay. Well, then I think with
   6    affirmation is most definitely not           6   that, I appreciate your time today.
   7    settled science by any means.                7          You've told me about all the
   8        Q. And the article out of France,        8   opinions you intend to offer in this
   9    what was that article?                       9   case; is that correct?
  10        A. That's an article that I read,       10          MR. MCKAY: Object to the form.
  11    but I haven't looked through the            11       A. Those we've discussed and those
  12    references of it yet. It was a public       12   that are contained in my opinion -- in my
  13    statement from the health professionals     13   report.
  14    in France essentially discussing the lack   14       Q. That's fair. So everything is
  15    of scientific evidence in support of the    15   either in your report or what we've
  16    gender affirmation of minors, the medical   16   discussed today; is that correct?
  17    and surgical transition of minors.          17       A. That's correct.
  18        Q. And just because I don't want to     18       Q. Any other opinions you intend to
  19    be surprised at trial, do you think you     19   offer that are either not in your report
  20    could spend a couple minutes for me         20   or were not discussed here today?
  21    looking for those articles and you could    21       A. Not that I can think of.
  22    share them with me?                         22          MRS. VAGUE: Okay. Well, then
  23        A. Certainly.                           23   that's all I have. If others have


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   1       questions.                                              1
   2             MR. MCKAY: I have no questions.                   2
   3             MR. CHEEK: Nothing from the                       3
   4       United States.                                          4
   5             MRS. VAGUE: Doctor, thank you                     5
   6       for your time. I appreciate it.                         6
   7             THE WITNESS: Thank you.                           7
   8             MR. MCKAY: We would like to                       8
   9       read and sign. We don't need a rush.                    9
  10       Just normal time on it.                                10
  11             MRS. VAGUE: I think we only                      11
  12       marked one thing, which was Dr. Lappert's              12
  13       report. So I will send that with a copy                13
  14       to everybody, to our court reporter here.              14
  15            AND FURTHER DEPONENT SAYETH NOT                   15
  16                                                              16
  17                                                              17
  18                                                              18
  19                                                              19
  20                                                              20
  21                                                              21
  22                                                              22
  23                                                              23

                                                       Page 166
   1            CERTIFICATE
   2
       STATE OF ALABAMA )
   3   COUNTY OF JEFFERSON )
   4
         I hereby certify that the above and
   5
       foregoing deposition was taken down by me
   6
       in stenotype and the questions and
   7
       answers thereto were transcribed by means
   8
       of computer-aided transcription and that
   9
       the foregoing represents a true and
  10
       correct transcript of the testimony given
  11
       by said witness upon said deposition.
  12
         I further certify that I am neither
  13
       of counsel nor of kin to the parties to
  14
       the action, nor am I in anywise
  15
       interested in the result of said cause.
  16
         I further certify that I am duly
  17
       licensed by the Alabama Board of Court
  18
       Reporting as a certified court reporter
  19
       as evidenced by the ACCR number following
  20
       my name below.
  21
  22
         KRISTA PRICE, CCR
  23     Certified Court Reporter



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